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   EXHIBIT A
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                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK

                                              ECF CASE
AUTHORS GUILD, DAVID BALDACCI,
MARY BLY, MICHAEL CONNELLY, SYLVIA
DAY, JONATHAN FRANZEN, JOHN                   No. 1:23-cv-08292-SHS;
GRISHAM, ELIN HILDERBRAND,                    No. 1:23-cv-10211-SHS
CHRISTINA BAKER KLINE, MAYA
SHANBHAG LANG, VICTOR LAVALLE,
GEORGE R.R. MARTIN, JODI PICOULT,             FIRST CONSOLIDATED CLASS
DOUGLAS PRESTON, ROXANA ROBINSON,             ACTION COMPLAINT
GEORGE SAUNDERS, SCOTT TUROW, and
RACHEL VAIL, individually and on behalf of
others similarly situated,                    JURY TRIAL DEMANDED

                   Plaintiffs,

      v.

OPEN AI INC., OPENAI OPCO LLC, OPENAI
GP LLC, OPENAI, LLC, OPENAI GLOBAL
LLC, OAI CORPORATION LLC, OPENAI
HOLDINGS LLC, OPENAI STARTUP FUND I
LP, OPENAI STARTUP FUND GP I LLC,
OPENAI STARTUP FUND MANAGEMENT
LLC, and MICROSOFT CORPORATION,

                   Defendants.


JONATHAN ALTER, KAI BIRD, TAYLOR
BRANCH, RICH COHEN, EUGENE LINDEN,
DANIEL OKRENT, JULIAN SANCTON,
HAMPTON SIDES, STACY SCHIFF, JAMES
SHAPIRO, JIA TOLENTINO, and SIMON
WINCHESTER, on behalf of themselves and all
others similarly situated,

                   Plaintiffs,

      v.

OPEN AI INC., OPENAI OPCO LLC, OPENAI
GP LLC, OPENAI, LLC, OPENAI GLOBAL
LLC, OAI CORPORATION LLC, OPENAI
HOLDINGS LLC, OPENAI STARTUP FUND I


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LP, OPENAI STARTUP FUND GP I LLC,
OPENAI STARTUP FUND MANAGEMENT
LLC, and MICROSOFT CORPORATION,

                       Defendants.


       Plaintiffs Jonathan Alter, The Authors Guild, David Baldacci, Kai Bird, Mary Bly,

Taylor Branch, Rich Cohen, Michael Connelly, Sylvia Day, Jonathan Franzen, John Grisham,

Elin Hilderbrand, Christina Baker Kline, Maya Shanbhag Lang, Victor LaValle, Eugene Linden,

George R.R. Martin, Daniel Okrent, Jodi Picoult, Douglas Preston, Roxana Robinson, Julian

Sancton, George Saunders, Stacy Schiff, Hampton Sides, James Shapiro, Jia Tolentino, Scott

Turow, Simon Winchester, and Rachel Vail, on behalf of themselves and all other similarly

situated (the “Fiction Author Class” and “Nonfiction Author Class,” as defined below), for their

complaint against Defendants OpenAI, Inc., OpenAI GP LLC, OpenAI, LLC, OpenAI OpCo

LLC, OpenAI Global LLC, OAI Corporation, LLC, OpenAI Holdings, LLC, OpenAI Startup

Fund I LP, OpenAI Startup Fund GP I LLC, OpenAI Startup Fund Management LLC

(collectively “OpenAI”), and Microsoft Corporation (all collectively “Defendants”), allege as

follows:

                                     NATURE OF THE CASE

           1.   OpenAI and Microsoft have built a business valued into the tens of billions of

dollars by taking the combined works of humanity without permission. Rather than pay for

intellectual property (such as when a person buys a book), they choose to operate as if the laws

protecting copyright do not exist. Yet the United States Constitution protects the fundamental

principle that creators, like authors, deserve compensation for their works, and the Copyright

Act grants “a bundle of exclusive rights” to creators, including “the rights to reproduce the




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copyrighted work[s].” Andy Warhol Found. for the Visual Arts, Inc. v. Goldsmith, 598 U.S. 508,

526 (2023).

       2.      Plaintiffs, authors of a broad array of works of fiction and nonfiction, bring this

action under the Copyright Act seeking redress for Defendants’ flagrant and harmful

infringements of Plaintiffs’ registered copyrights. Defendants copied Plaintiffs’ works and then

fed them into their “large language models” or “LLMs,” algorithms designed to output human-

seeming text responses to users’ prompts and queries. These algorithms are at the heart of

Defendants’ massive commercial enterprise. And at the heart of these algorithms is systematic

theft on a mass scale.

       3.     Defendants’ LLMs endanger authors’ ability to make a living, in that the LLMs

allow anyone to generate—automatically and freely (or very cheaply)—texts that they would

otherwise pay writers to create. Moreover, the LLMs can spit out derivative works: material that

is based on, mimics, summarizes, or paraphrases Plaintiffs’ works, and harms the market for

them. Without Plaintiffs’ copyrighted works on which to “train” their LLMs, Defendants would

have no commercial product with which to damage—if not usurp—the market for these

professional writers’ works. OpenAI’s willful copying thus makes Plaintiffs’ works into engines

of Plaintiffs’ own destruction, notwithstanding that professional writers often spend years

conceiving of and writing their creations.

       4.     Specifically, Defendants OpenAI and Microsoft collaborated closely to create and

monetize the generative artificial intelligence models known as GPT-3, GPT-3.5, GPT-4, and

GPT-4 Turbo. These are the computer models that power the popular ChatGPT chatbot, which

Defendants have followed with a suite of other commercial offerings, like ChatGPT Enterprise,

ChatGPT Plus, Bing Chat, Browse with Bing, Microsoft Copilot, and others. Defendants’ GPT




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    models have been designed to recognize and process text inputs from a user and, in response,

    generate text that has been calibrated to mimic a human written response.

           5.     That end product—a computer model and chatbot built to mimic human written

    expression—came at a price. Defendants’ models were “trained,” in Defendants’ parlance, by

    reproducing a massive corpus of copyrighted material, including, upon information and belief,

    tens or hundreds of thousands of fiction and nonfiction books. The only way that Defendants’

    models could be trained to generate text output that resembles human expression is to copy and

    analyze a large, diverse corpus of text written by humans. In training their models, Defendants

    reproduced copyrighted texts to exploit precisely what the Copyright Act was designed to

    protect: the elements of protectible expression within them, like the choice and order of words

    and sentences, syntax, flow, themes, and paragraph and story structure. In OpenAI’s words, the

    goal of the training process was to teach their model to “learn” “how words fit together

    grammatically,” “how words work together to form higher-level ideas,” and “how sequences of

    words form structured thoughts.”1 In other words, by training its models on certain works,

    OpenAI copied the works’ expression so that the models could memorize, mimic, and

    paraphrase that expression.

           6.     Defendants copied and data-mined the works of writers, without permission or

    compensation, to build a machine that is capable (or, as technology advances, will soon be

    capable) of performing the same type of work for which these writers would be paid. Without

    the wide corpus of copyrighted material on which to feed, there would be no ChatGPT.

    Defendants’ commercial success was possible only because they copied and digested the




1
  Fred von Lohmann, response to Notice of Inquiry and Request for Comment 5, (Oct. 30, 2023), available at
https://downloads.regulations.gov/COLC-2023-0006-8906/attachment_1.pdf.


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    protected, copyrightable expression contained in billions of pages of actual text, across millions

    of copyrighted works—all without paying a penny to the authors of those works.

            7.      OpenAI could have “trained” its LLMs on works in the public domain. It could

    have paid a reasonable licensing fee to use copyrighted works. What Defendants could not do

    was evade the Copyright Act altogether to power their lucrative commercial endeavor, taking

    whatever datasets of relatively recent books they could get their hands on without authorization.

    There is nothing fair about this. OpenAI’s unauthorized use of Plaintiffs’ copyrighted works

    thus presents a straightforward infringement case applying well-established law to well-

    recognized copyright harms.

            8.      OpenAI’s chief executive Sam Altman has told Congress that he shares Plaintiffs’

    concerns. According to Altman, “Ensuring that the creator economy continues to be vibrant is

    an important priority for OpenAI. ... OpenAI does not want to replace creators. We want our

    systems to be used to empower creativity, and to support and augment the essential humanity of

    artists and creators.”2 Altman testified that OpenAI “think[s] that creators deserve control over

    how their creations are used” and that “content creators, content owners, need to benefit from

    this technology.”3 Altman also has represented that OpenAI has “licens[ed] content directly

    from content owners” for “training” purposes.4 Not so from Plaintiffs. As to them, Altman and

    Defendants have proved unwilling to turn these words into actions.




2
     Sam Altman, Questions for the Record, at 9–10 (June 22, 2023), available at
https://www.judiciary.senate.gov/imo/media/doc/2023-05-16_-_qfr_responses_-_altman.pdf (last accessed Dec. 4,
2023).
3
  Oversight of A.I.: Rules for Artificial Intelligence: Hearing Before the S. Judiciary Comm. Subcomm. on Privacy,
Tech. and the Law, 118th Cong. (2023) (testimony of OpenAI CEO Sam Altman), available at
https://techpolicy.press/transcript-senate-judiciary-subcommittee-hearing-on-oversight-of-ai (last accessed Dec. 4,
2023).
4
    Altman, Questions for the Record, supra, at 10.



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           9.     Defendants OpenAI and Microsoft have enjoyed enormous financial gain from

    their free exploitation of copyrighted material. OpenAI recently reported that it is “generating

    revenue at a pace of $1.3 billion a year.”5 Microsoft, for its part, has seen its investment in

    OpenAI increase many-fold and its own GPT-based products, like BingChat, succeed in the

    marketplace. And its stock price has increased as Microsoft has touted its ability to exploit and

    leverage AI across its products. Analysts project that the integration of GPT into Microsoft

    products could generate more than $10 billion in annualized revenue by 2026,6 with just one

    version of this integration—“GitHub Copilot”—already generating more than $100 million in

    annual recurring revenue.7 In developing and monetizing these AI products, Microsoft and

    OpenAI have been close partners every step of the way, from the training of GPT-3 to today.

           10.    OpenAI and Microsoft’s commercial gain has come at the expense of creators and

    rightsholders like Plaintiffs and members of the Classes. A person who reads a book typically

    buys it from a store. But Defendants did not even do that. Neither OpenAI nor Microsoft have

    paid for the books used to train their models. Nor have Defendants sought to obtain—or pay

    for—a license to copy and exploit the protected expression contained in the copyrighted works

    used to train their models. Instead, Defendants took these works; they made unlicensed copies

    of them; and they used those unlicensed copies to digest and analyze the copyrighted expression

    in them, all for commercial gain. The end result is a computer model that is not only built on the

    work of thousands of creators and authors, but also built to generate a wide range of



5
  AJ Hess, The Biggest Challenges Facing OpenAI’s Mira Murati, the Newly Minted Most Powerful Woman in
Tech, FAST COMPANY (last visited Nov. 20, 2023), https://www.fastcompany.com/90985829/the-biggest-challenges-
facing-openais-mira-murati-the-newly-minted-most-powerful-woman-in-tech.
6
  Jordan Novet, Microsoft Starts Selling AI Toll for Office, Which Could Generate $10 Billion a Year by 2026,
CNBC (last visited NOV. 20, 2023) https://www.cnbc.com/2023/11/01/microsoft-365-copilot-becomes-generally-
available.html.
7
  Aaron Holmes, Microsoft’s GitHub AI Coding Assistant Exceeds $100 Million in Recurring Revenue, THE
INFORMATION, (last visited Nov. 20, 2023), https://www.theinformation.com/briefings/microsoft-github-copilot-
revenue-100-million-ARR-ai (available at https://perma.cc/5S7F-4GBY).


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expression—from shortform articles to book chapters—that mimics the syntax, voice, and

themes of the copyrighted works on which it was trained.

       11.    Plaintiffs seek to represent Classes of fiction and nonfiction writers whose works

were used to train Defendants’ artificial intelligence models. Plaintiffs, on behalf of themselves

and the Classes, seek damages from Defendants for their largescale infringement of their

copyrighted works, as well as injunctive relief.

                                 JURIDISCTION & VENUE

       12.    The Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a)

because this action arises under the Copyright Act of 1976, 17 U.S.C. § 101, et seq.

       13.    The Court also has personal jurisdiction over Defendants because they have

purposely availed themselves of the privilege of conducting business in New York.

       14.    OpenAI and Microsoft’s copyright infringement and contributory copyright

infringement occurred, in substantial part, in this District. OpenAI sold and distributed, and

continues to sell and distribute, its GPT products, including ChatGPT, ChatGPT Enterprise,

ChatGPT Plus, Browse with Bing, and application programming interface tools (API) within

New York and to New York residents. OpenAI marketed and sold GPT-based products to New

York residents and New York-based companies.

       15.    Microsoft distributed and sold GPT-based products, like Bing Chat and Azure

products that incorporate GPT-3 and GPT-4. Upon information and belief, Microsoft also

assisted OpenAI’s copyright infringement from New York, including from Azure datacenters

located in New York, which were used to facilitate OpenAI’s use and exploitation of the

training dataset used for development of OpenAI’s GPT models. Microsoft maintains offices

and employs personnel in New York. Upon information and belief, Microsoft’s New York

personnel were involved in the creation and maintenance of the supercomputing systems that


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powered OpenAI’s widespread infringement, as well as in the commercialization of OpenAI’s

GPT models.

       16.    Plaintiffs The Authors Guild, Bird, Bly, Kline, Lang, LaValle, Linden, Robinson,

Sancton, Schiff, Shapiro, Tolentino, Vail, and Winchester are citizens of New York. The

injuries alleged here from Defendants’ infringement occurred in this District.

       17.    Venue is proper under 28 U.S.C. § 1400(a) because Defendants or their agents

reside or may be found in this District due to their infringing activities, along with their

commercialization of their infringing activities, that occurred in this District. Venue is also

proper under 28 U.S.C. § 1391(b)(2) because a substantial part of the events giving rise to

Plaintiffs’ claims occurred in this District, including the sales of Defendants’ GPT-based

products within this District.

                                        THE PARTIES

      A.      Plaintiffs

       18.    Plaintiff The Authors Guild is a nonprofit 501(c)(6) organization based in New

York, New York.

       19.    Plaintiff Jonathan Alter is an author and a resident of New Jersey.

       20.    Plaintiff David Baldacci is an author and a resident of Virginia.

       21.    Plaintiff Kai Bird is an author and a resident of New York.

       22.    Plaintiff Mary Bly is an author and a resident of New York.

       23.    Plaintiff Taylor Branch is an author and a resident of Maryland.

       24.    Plaintiff Rich Cohen is an author and a resident of Connecticut.

       25.    Plaintiff Michael Connelly is an author and a resident of Florida.

       26.    Plaintiff Sylvia Day is an author and a resident of Nevada.

       27.    Plaintiff Jonathan Franzen is an author and a resident of California.


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       28.   Plaintiff John Grisham is an author and a resident of Virginia.

       29.   Plaintiff Elin Hilderbrand is an author and a resident of Massachusetts.

       30.   Plaintiff Christina Baker Kline is an author and a resident of New York.

       31.   Plaintiff Maya Shanbhag Lang is an author and a resident of New York.

       32.   Plaintiff Victor LaValle is an author and a resident of New York.

       33.   Plaintiff Eugene Linden is an author and a resident of New York.

       34.   Plaintiff George R.R. Martin is an author and a resident of New Mexico.

       35.   Plaintiff Daniel Okrent is an author and a resident of Massachusetts.

       36.   Plaintiff Jodi Picoult is an author and a resident of New Hampshire.

       37.   Plaintiff Douglas Preston is an author and a resident of New Mexico.

       38.   Plaintiff Roxana Robinson is an author and a resident of New York.

       39.   Plaintiff Julian Sancton is an author and a resident of New York.

       40.   Plaintiff George Saunders is an author and a resident of California.

       41.   Plaintiff Stacy Schiff is an author and a resident of New York.

       42.   Plaintiff Hampton Sides is an author and a resident of New Mexico.

       43.   Plaintiff James Shapiro is an author and a resident of New York.

       44.   Plaintiff Jia Tolentino is an author and a resident of New York.

       45.   Plaintiff Scott Turow is an author and a resident of Florida.

       46.   Plaintiff Simon Winchester OBE is an author and a resident of New York.

       47.   Plaintiff Rachel Vail is an author and a resident of New York.

       48.   The registration information for the infringed works of Plaintiffs is identified in

Exhibits A and B to this Complaint.

      B.     OpenAI Defendants




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       49.   Defendant OpenAI, Inc. is a Delaware nonprofit corporation with a principal

place of business in San Francisco, California. OpenAI, Inc. was formed in December 2015.

OpenAI, Inc. owns and controls all other OpenAI entities.

       50.   Defendant OpenAI GP, LLC is a Delaware limited liability company with a

principal place of business in San Francisco, California. OpenAI GP, LLC wholly owns and

controls OpenAI OpCo LLC, which until recently was known as OpenAI LP. OpenAI, Inc. uses

OpenAI GP LLC to control OpenAI OpCo LLC and OpenAI Global, LLC. OpenAI GP LLC

was involved in the copyright infringement alleged here through its direction and control of

OpenAI OpCo LLC and OpenAI Global LLC.

       51.   Defendant OpenAI OpCo LLC is a Delaware limited liability company with a

principal place of business in San Francisco, California. OpenAI OpCo LLC was formerly

known as OpenAI LP. OpenAI OpCo LLC is the sole member of OpenAI, LLC, and has been

directly involved in OpenAI’s mass infringement and has directed this infringement through its

control of OpenAI, LLC. OpenAI OpCo LLC serves as the for-profit arm of OpenAI.

       52.   Defendant OpenAI, LLC is a Delaware limited liability company with a principal

place of business in San Francisco, California. OpenAI, LLC was formed in September 2020.

OpenAI LLC monetizes and distributes OpenAI’s GPT-based products, all of which born out of

OpenAI’s copyright infringement. Upon information and belief, OpenAI, LLC is owned and

controlled by both OpenAI, Inc. and Microsoft Corporation, through OpenAI Global LLC and

OpenAI OpCo LLC.

       53.   Defendant OpenAI Global LLC is a Delaware limited liability company with a

principal place of business in San Francisco, California. Microsoft Corporation has a minority

stake in OpenAI Global LLC and OpenAI, Inc. has a majority stake in OpenAI Global LLC,

indirectly through OpenAI Holdings LLC and OAI Corporation, LLC. OpenAI Global LLC was


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involved in the copyright infringement alleged here through its ownership, control, and

direction of OpenAI LLC.

       54.     Defendant OAI Corporation, LLC is a Delaware limited liability company with a

principal place of business in San Francisco, California. OAI Corporation, LLC’s sole member is

OpenAI Holdings, LLC. OAI Corporation, LLC was and is involved in the unlawful conduct

alleged herein through its ownership, control, and direction of OpenAI Global LLC and OpenAI

LLC.

       55.     Defendant OpenAI Holdings, LLC is a Delaware limited liability company,

whose sole members are OpenAI, Inc. and Aestas, LLC. The sole member of Aestas, LLC is

Aestas Management Company, LLC. Aestas Management Company, LLC is a Delaware

company created to facilitate a half-billion-dollar capital raise for OpenAI. OpenAI Holdings

LLC was involved in the infringement alleged herein through its indirect ownership, control, and

direction of OpenAI OpCo LLC.

       56.     Defendant OpenAI Startup Fund I LP is a limited partnership formed under the

laws of Delaware with its principal place of business in San Francisco, California.

       57.     Defendant OpenAI Startup Fund GP I LLC is a limited liability company formed

under the laws of Delaware with its principal place of business in San Francisco, California.

        58.    Defendant OpenAI Startup Fund Management LLC is a limited liability company

formed under the laws of Delaware with its principal place of business in San Francisco,

California.

       C.      Microsoft

       59.     Microsoft Corporation is a Washington corporation with a principal place of

business and headquarters in Redmond, Washington. Microsoft has invested at least $13 billion

in OpenAI, and reportedly owns a 49% stake in the company’s for-profit operations. Microsoft


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has described its relationship with the OpenAI Defendants as a “partnership.” This Microsoft-

OpenAI partnership has included the creation, development, and maintenance of the

supercomputing systems that the OpenAI Defendants used to house and make copies of

copyrighted material in the training set for OpenAI’s large language models. In course of

designing and maintaining these tailored supercomputing systems for OpenAI’s needs, upon

information and belief, Microsoft was both directly involved in making reproductions of

copyrighted material and facilitated the copyright infringement committed by OpenAI.

                                FACTUAL ALLEGATIONS

       A.     Generative AI and Large Language Models

        60.   The terms “artificial intelligence” or “AI” refer generally to computer systems

designed to imitate human cognitive functions.

        61.   The terms “generative artificial intelligence” or “generative AI” refer specifically

to systems that are capable of generating “new” content in response to user inputs called

“prompts.”

        62.   For example, the user of a generative AI system capable of generating images

from text prompts might input the prompt, “A lawyer working at her desk.” The system would

then attempt to construct the prompted image. Similarly, the user of a generative AI system

capable of generating text from text prompts might input the prompt, “Tell me a story about a

lawyer working at her desk.” The system would then attempt to generate the prompted text.

        63.   Recent generative AI systems designed to recognize input text and generate

output text are built on “large language models” or “LLMs.”

        64.   OpenAI’s LLMs are complex mathematical functions comprised of a series of

algorithms that break down input text into smaller pieces—words or portions of words, called

“tokens”—then translate those pieces into “vectors,” or a sequence of numbers that is used to


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    identify the token within the series of algorithms. Those vectors help place each token on a map,

    by identifying other tokens closely associated with the word.

           65.    According to OpenAI, “the process begins by breaking text down into roughly

    word-length ‘tokens,’ which are converted to numbers. The model then calculates each token’s

    proximity to other tokens in the training data—essentially, how near one word appears in

    relation to any other word. These relationships between words reveal which words have similar

    meanings . . . and functions.” As the model trains and digests more expression, the algorithms

    depicting the relationship between various tokens changes with it.

           66.    “Training” an LLM refers to the process by which the parameters that define an

    LLM’s behavior are adjusted through the LLM’s ingestion and analysis of large “training”

    datasets.

           67.    The “training” of an LLM requires inputting large numbers of parameters in the

    model and then supplying the LLM with large amounts of text for the LLM to ingest—the more

    text, the better. That is, in part, and hand-in-hand with number of model specifications, the large

    in large language model.

           68.    As the U.S. Patent and Trademark Office has observed, LLM “training” “almost

    by definition involve[s] the reproduction of entire works or substantial portions thereof.”8

           69.    “Training” in this context is therefore a technical-sounding euphemism for

    “copying and ingesting expression.”

           70.    Moreover, in some form and to some degree currently unknowable to the public,

    OpenAI’s LLMs have “memorized” or stored their “training” data (even if in a “translated”



8
  U.S. Patent & Trademark Office, Public Views on Artificial Intelligence and Intellectual Property Policy 29
(2020), available at https://www.uspto.gov/sites/default/files/documents/USPTO_AI-Report_2020-10-07.pdf (last
accessed Jan. 22, 2024).



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 form, such as a unique statistical profile), such that the data (at least in part) can be accessed,

 recalled, and reproduced by the LLM at will.9

         71.     The quality of the LLM (that is, its capacity to generate human-seeming responses

 to prompts) is dependent on the quality of the datasets used to “train” the LLM.

         72.     Professionally authored, edited, and published fiction and nonfiction books—such

 as those authored by Plaintiffs here—are an especially important source of LLM “training” data.

         73.     As one group of AI researchers (not affiliated with Defendants) has observed,

 “[b]ooks are a rich source of both fine-grained information, how a character, an object or a

 scene looks like, as well as high-level semantics, what someone is thinking, feeling and how

 these states evolve through a story.”10

         74.     Once the “training” data is ingested, OpenAI can then control how closely the

 LLMs’ outputs adhere to probability. Software engineers refer to this parameter as

 “temperature.” If OpenAI engineers set its LLMs at a “hotter” temperature, the model will bias

 against what it calculates as the most probable response in favor of more random outputs.

 Likewise, the “cooler” the LLMs are set, the more closely their outputs will adhere to statistical

 probability. In this way, OpenAI can control the very perception of copying.

         75.     LLMs can also be fine-tuned after “training” by adjusting the parameters to

 perform specific tasks.

         76.     Finally, and as discussed below, OpenAI continues to produce new versions of

 their LLMs supported by increasingly more “training” data, much of which is copyrighted


9
  See Jason Koebler, Google Researchers’ Attack Prompts ChatGPT to Reveal Its Training Data, 404 Media (Nov.
29, 2023), available at https://www.404media.co/google-researchers-attack-convinces-chatgpt-to-reveal-its-training-
data/ (last accessed Jan. 22, 2024); Kent K. Chang et al., Speak, Memory: An Archaeology of Books Known to
ChatGPT/GPT-4 (2023), available at https://arxiv.org/pdf/2305.00118v1.pdf (last accessed Jan. 22, 2024).
10
   Yukun Zhu et al., Aligning Books and Movies: Towards Story-like Visual Explanations by Watching Movies and
Reading Books 1 (2015), available at https://arxiv.org/pdf/1506.06724.pdf (last accessed Jan. 22, 2024).



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material. These new versions hone the performance of OpenAI’s consumer-facing products

through the ingestion of more copyrighted material.

        77.    In other words, books are the high-quality materials Defendants want, need, and

have therefore outright pilfered to develop generative AI products that produce high-quality

results: text that appears to have been written by a human writer.

        78.    This use is highly commercial.

       B.      OpenAI’s Willful Infringement of Plaintiffs’ Copyrights

       1.      OpenAI

       79.     OpenAI (specifically, Defendant OpenAI Inc.) was founded in 2015 as a non-

profit organization with the self-professed goal of researching and developing AI tools

“unconstrained by a need to generate financial return.”

       80.     Four years later, in 2019, OpenAI relaunched itself (specifically, through

Defendant OpenAI GP LLC and Defendant OpenAI OpCo LLC) as a for-profit enterprise.

       81.     Investments began pouring in. Microsoft Corporation, one of the world’s largest

technology companies, invested $1 billion in 2019, an estimated $2 billion in 2021, and a

staggering $10 billion in 2023, for a total investment of $13 billion.

       82.     Industry observers currently value OpenAI at up to $80 billion.

       2.      GPT-N and ChatGPT

        83.    OpenAI’s LLMs are collectively referred to as “GPT-N,” which stands for

“Generative Pre-trained Transformer” (a specific type of LLM architecture), followed by a

version number.

        84.    GPT-3 was released in 2020 and exclusively licensed to Microsoft the same year.

        85.    OpenAI further refined GPT-3 into GPT-3.5, which was released in 2022.




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         86.     In November 2022, OpenAI released ChatGPT, a consumer-facing chatbot

 application built on GPT-3.5.

         87.     ChatGPT’s popularity exploded virtually overnight. By January 2023, less than

 three months after its release, the application had an estimated 100 million monthly active users,

 making it one of the fastest-growing consumer applications in history.

         88.     Today, the application is estimated to have more than 180 million users.11

         89.     GPT-4, the successor to GPT-3.5, was released in March 2023.

         90.     GPT-4 underlies OpenAI’s new subscription-based chatbot, called ChatGPT Plus,

 which is available to consumers for $20 per month.

         91.     Defendants intend to earn billions of dollars from this technology.

         92.     When announcing the release of ChatGPT Enterprise, a subscription-based high-

 capability GPT-4 application targeted for corporate clients, in August 2023, OpenAI claimed

 that teams in “over 80% of Fortune 500 companies” were using its products.12

         93.     GPT-4 also underlies Microsoft’s Bing Chat product, offered through its Bing

 Internet search engine, and is integrated into its sales and marketing software, coding tools,

 productivity software, and cloud storage services.

         94.     OpenAI’s annualized revenue reached over $1.6 billion in 2023 due, in large part,

 to strong growth from its ChatGPT product.13




11
   Anna Tong, Exclusive: ChatGPT traffic slips again for third month in a row, Reuters (Sept. 7, 2023) available at
https://www.reuters.com/technology/chatgpt-traffic-slips-again-third-month-row-2023-09-07/ (last accessed Jan. 24,
2024).
12
   OpenAI, Introducing ChatGPT Enterprise (Aug. 28, 2023), available at https://openai.com/blog/introducing-
chatgpt-enterprise (last accessed Jan. 24, 2024).
13
  Maria Heeter et al., OpenAI Annualized Revenue Tops $1.6 Billions as Customers Shrug Off CEO Drama, The
Information (Dec. 30, 2023), available at https://www.theinformation.com/articles/openais-annualized-revenue-
tops-1-6-billion-as-customers-shrug-off-ceo-drama (last accessed Jan. 22, 2024).



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             95.      Analysts estimate that Microsoft could earn more than $10 billion in annual

 revenue by 2026 only from AI add-ons to its Microsoft 365 productivity software, “at the core”

 of which lies OpenAI technology.14

            3.        Knowingly “Training” GPT-N on Copyrighted Books

             96.      OpenAI does not disclose or publicize with specificity what datasets GPT-3,

 GPT-3.5, or GPT-4 were “trained” on. Despite its name, OpenAI treats that information as

 proprietary.

             97.      To “train” its LLMs—including GPT-3, GPT-3.5, and GPT-4—OpenAI has

 reproduced copyrighted books—including copyrighted books authored by Plaintiffs here—

 without their authors’ consent.

             98.      OpenAI has admitted as much.

             99.      OpenAI has admitted that it has “trained” its LLMs on “large, publicly available

 datasets that include copyrighted works.”15

             100. OpenAI has admitted that “training” LLMs “require[s] large amounts of data,”

 and that “analyzing large corpora” of data “necessarily involves first making copies of the data

 to be analyzed.”16

             101. OpenAI has admitted that, if it refrained from using copyrighted works in its

 LLMs’ “training,” it would “lead to significant reductions in model quality.”17




14
  Jordan Novet, Microsoft starts selling AI tool for Office, which could generate $10 billion a year by 2026, CNBC
(Nov. 1, 2023), available at https://www.cnbc.com/2023/11/01/microsoft-365-copilot-becomes-generally-
available.html (last accessed Jan. 22, 2024).
15
    OpenAI, Comment Regarding Request for Comments on Intellectual Property Protection for Artificial
Intelligence Innovation, U.S. Patent and Trademark Office Dkt. No. PTO-C-2019-0038, at 1 (2019), available at
https://www.uspto.gov/sites/default/files/documents/OpenAI_RFC-84-FR-58141.pdf (last accessed Jan. 22, 2024).
16
     Id.
17
     Id. at 7 n.33.



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            102. OpenAI thus has conceded that reproduction of copyrighted works is central to

 the quality of its products.

            103. In response to a query submitted to it in January 2023, ChatGPT responded, “[i]t

 is possible that some of the books used to train me were under copyright. However, my training

 data was sourced from various publicly available sources on the internet, and it is likely that

 some of the books included in my training dataset were not authorized to be used. ... If any

 copyrighted material was included in my training data, it would have been used without the

 knowledge or consent of the copyright holder.”

            104. In another inquiry made that same year, ChatGPT confirmed the existence of

 Plaintiff Julian Sancton’s book in its dataset: “Yes, Julian Sancton’s book ‘Madhouse at the End

 of the Earth’ is included in my training data.”

            105. In another example, when prompted, ChatGPT generated an infringing,

 unauthorized, and detailed outline for the next purported installment of The Last Juror, one of

 the Grisham Infringed Works, and titled the infringing and unauthorized derivative “The Juror’s

 Dilemma,” using the same characters from Grisham’s existing book.18

            106. Until recently, ChatGPT could be prompted to return quotations of text from

 copyrighted books with a good degree of accuracy, evidencing that the underlying LLM likely

 or must have ingested these books in their entireties during its “training.”

            107. Now, however, ChatGPT generally responds to such prompts with the statement,

 “I can’t provide verbatim excerpts from copyrighted texts.” Thus, while ChatGPT previously

 provided such excerpts and in principle retains the capacity to do so, it has been restrained from

 doing so, if only temporarily, by its programmers.



18
     Additional examples of OpenAI’s plaintiff-specific infringement are detailed below.


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         108. Instead of “verbatim excerpts,” ChatGPT offers to produce a summary of the

 copyrighted book, which usually contains details not available in reviews and other publicly

 available material—again suggesting that the underlying LLM must have ingested the entire

 book during its “training.”

         109. Notably, though, even when OpenAI fine-tunes a base model, it does not alter the

 fact of reproduction.

         110. OpenAI is characteristically opaque about where and how it procured the entirety

 of these books, including Plaintiffs’ copyrighted works.

         111. OpenAI has discussed limited details about the datasets used to “train” GPT-3.

         112. OpenAI admits that among the “training” datasets it used to “train” the model

 were “Common Crawl,” and two “high-quality,” “internet-based books corpora” which it calls

 “Books1” and “Books2.”19

         113. Common Crawl is a vast and growing corpus of “raw web page data, metadata

 extracts, and text extracts” scraped from billions of web pages. It is widely used in “training”

 LLMs, and has been used to “train,” in addition to GPT-N, Meta’s LlaMa, and Google’s BERT.

 It is known to contain text from books copied from pirate sites.20

         114. OpenAI refuses to discuss the source or sources of the Books2 dataset.




19
    Tom B. Brown et al., Language Models Are Few-Shot                 Learners   8   (2020),   available   at
https://arxiv.org/pdf/2005.14165.pdf (last accessed Jan. 22, 2024).
20
  Alex Hern, Fresh Concerns Raised Over Sources of Training Material for AI Systems, The Guardian (Apr. 20,
2023), available at https://www.theguardian.com/technology/2023/apr/20/fresh-concerns-training-material-ai-
systems-facist-pirated-malicious (last accessed Jan. 22, 2024).



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            115. Some independent AI researchers suspect that Books2 contains or consists of

 ebook files downloaded from large pirate book repositories such as Library Genesis or

 “LibGen,” “which offers a vast repository of pirated text.”21

            116. LibGen is already known to this Court as a notorious copyright infringer.22

            117. Other possible candidates for Books2’s sources include Z-Library, another large

 pirate book repository that hosts more than 11 million books, and pirate torrent trackers like

 Bibliotik, which allow users to download ebooks in bulk.

            118. Websites linked to Z-Library appear in the Common Crawl corpus and have been

 included in the “training” dataset of other LLMs.23

            119. Z-Library’s Internet domains were seized by the FBI in February 2022, only

 months after OpenAI stopped “training” GPT-3.5 in September 2021.

            120. The disclosed size of the Books2 dataset (55 billion “tokens,” the basic units of

 textual meaning such as words, syllables, numbers, and punctuation marks) suggests it

 comprises over 100,000 books.

            121. “Books3,” a dataset compiled by an independent AI researcher, is comprised of

 nearly 200,000 books downloaded from Bibliotik, and has been used by other AI developers to

 “train” LLMs.

            122. The similarities in the sizes of Books2 and Books3, and the fact that there are only

 a few pirate repositories on the Internet that allow bulk ebook downloads, strongly indicates that




21
   Kate Knibbs, The Battle Over Books3 Could Change AI Forever, Wired (Sept. 4, 2023), available at
https://www.wired.com/story/battle-over-books3 (last accessed Jan. 22, 2024).
22
     See Elsevier Inc. v. Sci-Hub, No. 1:15-cv-4282-RWS (S.D.N.Y.).
23
   Kevin Schaul et al., Inside the Secret List of Websites that Make AI Like ChatGPT Sounds Smart, The Washington
Post (Apr. 19, 2023), available at https://www.washingtonpost.com/technology/interactive/2023/ai-chatbot-learning
(last accessed Jan. 22, 2024).



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 the books contained in Books2 were also obtained from one of the notorious repositories

 discussed above.

                 123. OpenAI has not discussed the datasets used to “train” GPT-3.5, GPT-4, or their

 source or sources.

                 124. GPT-3.5 and GPT-4 are significantly more powerful than their predecessors.

 GPT-3.5 contains roughly 200 billion parameters, and GPT 4 contains roughly 1.75 trillion

 parameters, compared to GPT-3’s roughly 175 billion parameters.

                 125. The growth in power and sophistication from GPT-3 to GPT-4 suggests a

 correlative growth in the size of the “training” datasets, raising the inference that one or more

 very large sources of pirated ebooks discussed above must have been used to “train” GPT-4.

                 126. There is no other way OpenAI could have obtained the volume of books required

 to “train” a powerful LLM like GPT-4.

                 127. In short, OpenAI admits it needs24 and uses25 “large, publicly available datasets

 that include copyrighted works”26—and specifically, “high-quality”27 copyrighted books—to

 “train” its LLMs; pirated sources of such “training” data are readily available; and one or more

 of these sources contain Plaintiffs’ works.

                 128. Defendants knew that their “training” data included texts protected by copyright

 but willfully proceeded without obtaining authorization.

                 129. OpenAI’s “training” its LLMs could not have happened without Microsoft’s

 financial and technical support. In 2020, Microsoft announced that it had developed Azure, “one

 of the top five publicly disclosed supercomputers in the world” which was “[b]uilt in


24
     OpenAI, Comment Regarding Request for Comments, supra, at 7 n.33.
25
     Id. at 2.
26
     Id. at 1.



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 collaboration with and exclusively for OpenAI,” and “designed specifically to train that

 company’s AI models.”28

            130. Furthermore, in 2023, Microsoft CEO Satya Nadella reminded the world that the

 “heavy lifting” for OpenAI’s LLM “training” was done by Microsoft “compute

 infrastructure.”29

           C.       The Microsoft-OpenAI Partnership

           131.     While OpenAI was responsible for designing the calibration and fine-tuning of

the GPT models—and thus, the largescale copying of this copyrighted material involved in

generating a model programmed to accurately mimic Plaintiffs’ and others’ expression—

Microsoft built and operated the computer system that enabled this unlicensed copying in the

first place.

           132.     Microsoft, for the last four years, has been deeply involved in the training,

development, and commercialization of OpenAI’s GPT products. Microsoft CEO Satya Nadella

has called its relationship with OpenAI a “great commercial partnership.”

           133.     Given the volume of the training corpus—the equivalent of nearly four billion

pages of single-spaced text—and the complexity of OpenAI’s large language models, OpenAI

required a specialized supercomputing system to train GPT-3, GPT-3.5, and GPT-4 (and thus

copy and exploit the copyrighted material in its training set). That is where Microsoft came in.

Microsoft’s Azure provided the cloud computing systems that powered the training process, and

continues to power OpenAI’s operations to this day. Microsoft and OpenAI worked together to




27
     Brown et al., Few-Shot Learners, supra, at 8.
28
  Jennifer Langston, Microsoft announces new supercomputer, lays out vision for future AI work, Microsoft (May
19, 2020), available at https://news.microsoft.com/source/features/ai/openai-azure-supercomputer/ (last accessed
Jan. 22, 2024).



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design this system, which was used to train all of OpenAI’s GPT models. Without these bespoke

computing systems, OpenAI would not have been able to execute and profit from the mass

copyright infringement alleged herein.

        134.     Microsoft has in public statements acknowledged its intimate involvement in the

development of OpenAI’s GPT models. In a 2020 press release, Microsoft announced that it had

built a bespoke supercomputing infrastructure “in collaboration and exclusively for OpenAI,”

“designed specifically to train that company’s AI models. It represents a key milestone in a

partnership announced last year to jointly create new supercomputing technologies in Azure.”

The press release went on to describe the computer “developed for OpenAI” as “top five” in the

“world,” and “a single system with more than 285,000 CPU cores, 10,000 GPUs and 4,000

gigabits per second of network connectivity for each GPU server.”

        135.     After the release of ChatGPT, Microsoft also took credit for its substantial role in

the training process. In a February 2023 interview with Fortt Knox on CNBC, Mr. Nadella said

that “beneath what OpenAI is putting out as large language models, remember, the heavy lifting

was done by the Azure team to build the compute infrastructure.” A few months later, in his

keynote speech at the Microsoft Inspire conference, Mr. Nadella acknowledged that Microsoft

“buil[t] the infrastructure to train [OpenAI’s] models.”

        136.     Upon information and belief, that “heavy lifting” involved developing,

maintaining, troubleshooting, and supporting OpenAI’s supercomputing system. Microsoft

employees worked closely with OpenAI personnel to understand the training process and

training dataset used for OpenAI’s GPT models.



29
  CNBC, First on CNBC: CNBC Transcript: Microsoft CEO Satya Nadella Speaks with CNBC’s Jon Fortt on
“Power Lunch” Today (Fed. 7, 2023), available at https://www.cnbc.com/2023/02/07/first-on-cnbc-cnbc-transcript-
microsoft-ceo-satya-nadella-speaks-with-cnbcs-jon-fortt-on-power-lunch-today.html (last accessed Jan. 22, 2024).



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        137.     Through that process, Microsoft would have known that OpenAI’s training data

was scraped indiscriminately from the internet and included a massive quantity of pirated and

copyrighted material, including a trove of copyrighted books. Through its creation and

maintenance of the supercomputing system, Microsoft directly made unlicensed copies and

provided critical assistance to OpenAI in making unlicensed copies of copyrighted material—

including Plaintiffs’ works and other copyrighted books—for the purpose of training the GPT

models.

        138.     The large-scale copyright infringement would have been obvious to OpenAI and

its business partners. Microsoft also became aware of OpenAI’s largescale copyright

infringement in the course of conducting the due diligence required for its multibillion-dollar

investments in OpenAI. As Andreesen Horowitz, another OpenAI investor, put it: “the only

practical way generative AI models can exist is if they can be trained on an almost unimaginably

massive amount of content, much of which . . . will be subject to copyright.”30 As the public

company made its decision to invest $13 billion into OpenAI, surely Microsoft—like Andreesen

Horowitz—was fully aware that OpenAI was taking a massive corpus of copyrighted content,

without compensation to rightsholders, and copying it for the purpose of training and developing

its GPT models to mimic the human writing.

        139.     In addition to facilitating the training process, Microsoft has played a key role in

commercializing OpenAI’s GPT-based technology, and in doing so has profited from OpenAI’s

infringement of content owned by Plaintiffs and the proposed Class. At Microsoft’s largest

partner event of the year, Inspire, Mr. Nadella said that while OpenAI is “innovating on the

algorithms and the training of these frontier models, [Microsoft] innovate[s] on applications on


30
   Andreeson Horowitz, Notice of Inquiry on Artificial Intelligence and Copyright, (Oct. 30, 2023), available at
https://s3.documentcloud.org/documents/24117939/a16z.pdf.


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top of it.” For example, Microsoft unveiled Bing Chat, a generative AI chatbot feature on its

search engine powered by GPT-4, and, in turn, ChatGPT integrated a “Browse with Bing”

feature on paid ChatGPT Plus offering.

        140.    Indeed, recent events have further demonstrated the close relationship between

OpenAI and Microsoft. When OpenAI CEO Sam Altman was terminated, Microsoft hired him.

In a November 2023 interview following the termination, Mr. Nadella stated: “We have all the

IP rights and all the capability. If OpenAI disappeared tomorrow, I don’t want any customer of

ours to be worried about it quite honestly, because we have all of the rights to continue the

innovation. Not just to serve the product, but we can go and just do what we were doing in

partnership ourselves. We have the people, we have the compute, we have the data, we have

everything.”31 Mr. Nadella continued, “And also this thing, it’s not hands off, right? We are in

there. We are below them, above them, around them. We do the kernel optimizations, we build

tools, we build the infrastructure. So that’s why I think a lot of the industrial analysts are saying,

‘Oh wow, it’s really a joint project between Microsoft and OpenAI.’”32

        141.    Shortly after this November 2023 interview, under pressure from Microsoft (and

others), OpenAI reinstated Mr. Altman as CEO and granted Microsoft a nonvoting seat on the

board of OpenAI, Inc.

        D.      GPT-N’s and ChatGPT’s Harm to Authors

         142. ChatGPT and the LLMs underlying it seriously threaten the livelihood of the very

authors—including Plaintiffs here, as discussed specifically below—on whose works they were

“trained” without the authors’ consent.


31
    Intelligencer Staff, Satya Nadella on Hiring the Most Powerful Man in AI When OpenAI threw Sam Altman
overboard, Microsoft’s CEO saw an opportunity, INTELLIGENCER (Nov. 21, 2023), available at
https://nymag.com/intelligencer/2023/11/on-with-kara-swisher-satya-nadella-onhiring-sam-altman.html   (last
accessed Dec. 11, 2023).
32
   Id.


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         143. Goldman Sachs estimates that generative AI could replace 300 million full-time

 jobs in the near future, or one-fourth of the labor currently performed in the United States and

 Europe.

         144. Already, writers report losing income from copywriting, journalism, and online

 content writing—important sources of income for many book authors. The Authors Guild’s

 most recent author earnings study33 shows a median writing-related income for full-time authors

 of just over $20,000, and that full-time traditional authors earn only half of that from their

 books. The rest comes from activities like content writing—work that is starting to dry up as a

 result of generative AI systems like ChatGPT.

         145. An Authors Guild member who writes marketing and web content reported losing

 75 percent of their work as a result of clients switching to AI.

         146. Another content writer told the Washington Post that half of his annual income

 (generated by ten client contracts) was erased when the clients elected to use ChatGPT

 instead.34

         147. Recently, the owner of popular online publications such as Gizmodo, Deadspin,

 The Root, Jezebel and The Onion came under fire for publishing an error-riddled, AI-generated

 piece, leading the Writers Guild of America to demand “an immediate end of AI-generated

 articles” on the company’s properties.35


33
    Authors Guild, “Top Takeaways from the 2023 Author Income Survey (2023), available at
https://authorsguild.org/news/key-takeaways-from-2023-author-income-
survey/#:~:text=Though%20overall%20author%20incomes%20are,coming%20in%20a%20close%20second (last
accessed Jan. 22, 2024).
34
  Pranshu Verma & Gerrit De Vynck, ChatGPT Took Their Jobs. Now They Walk Dogs and Fix Air Conditioners,
The Washington Post (June 2, 2023), available at https://www.washingtonpost.com/technology/2023/06/02/ai-
taking-jobs (last accessed Jan. 22, 2024).
35
  Todd Spangler, WGA Slams G/O Media’s AI-Generated Articles as ‘Existential Threat to Journalism,’ Demands
Company End Practice, Variety (July 12, 2023), available at https://variety.com/2023/digital/news/wga-slams-go-
media-ai-generated-articles-existential-threat-1235668496 (last accessed Jan. 22, 2024).



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        148. In a survey of authors conducted by The Authors Guild in March 2023 (early in

ChatGPT’s lifecycle), 69 percent of respondents said they consider generative AI a threat to

their profession, and 90 percent said they believe that writers should be compensated for the use

of their work in “training” AI.

        149. As explained above, until recently, ChatGPT provided verbatim quotes of

copyrighted text. Currently, it instead readily offers to produce summaries of such text. These

summaries are themselves derivative works, ineluctably based on original unlawfully copied

work that could be—but for ChatGPT—licensed by the authors of the underlying works to

willing, paying licensees.

        150. ChatGPT creates other outputs that are derivative of authors’ copyrighted works.

Businesses are sprouting up to sell prompts that allow users to enter the world of an author’s

books and create derivative stories within that world. For example, a business called Socialdraft

offers long prompts that lead ChatGPT to engage in “conversations” with popular fiction

authors like Plaintiff Grisham, Plaintiff Martin, Margaret Atwood, Dan Brown, and others about

their works, as well as prompts that promise to help customers “Craft Bestselling Books with

AI.”

        151. OpenAI also allows third parties to build their own applications on top of

ChatGPT by making it available through an “application programming interface” or “API.”

Applications integrated with the API allow users to generate works of fiction, including books

and stories similar to those of Plaintiffs and other authors.36

        152. Defendants’ unauthorized commercial copying of Plaintiffs’ works and works

owned by the proposed Classes was manifestly unfair use. Even OpenAI’s attempt to




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 anthropomorphize its commercial product underscores the unlawful nature of its conduct. By

 OpenAI’s own telling, ChatGPT uses copyrighted texts for the same purpose OpenAI claims an

 ordinary reading consumer may use a book—to review, understand, and learn from the

 expression in it, including the order of words, presentation of facts, and syntax, among other

 expressive elements. Yet humans who learn from books—even those who might describe their

 reading experience as merely a series of parts not summed into any whole—do not routinely

 copy them, and inherently must buy them, or borrow them from libraries that buy them,

 providing some measure of compensation to authors and creators. OpenAI copies books and

 provides no compensation.           It has usurped authors’ content for the purpose of creating a

 machine built to generate the very type of content for which authors usually would be paid.

         153. Furthermore, ChatGPT is being used to generate low-quality ebooks,

 impersonating authors, and displacing human-authored books.37 For example, author Jane

 Friedman discovered “a cache of garbage books” written under her name for sale on Amazon.38

         154. Even OpenAI CEO Sam Altman admitted in testimony to the Senate that

 “creators deserve control over how their creations are used, and what happens sort of beyond

 the point of releasing it into the world” and that “creators, content owners need to benefit from

 this technology.”39



36
  Adi Robertson, I Tried the AI Novel-Writing Tool Everyone Hates, and It’s Better than I Expected, The Verge
(May 24, 2023), available at https://www.theverge.com/2023/5/24/23732252/sudowrite-story-engine-ai-generated-
cyberpunk-novella (last accessed Jan. 22, 2024).
37
  Jules Roscoe, AI-Generated Books of Nonsense Are All Over Amazon’s Bestseller Lists, Vice (June 28, 2023),
available       at      https://www.vice.com/en/article/v7b774/ai-generated-books-of-nonsense-are-all-over-amazons-
bestseller-lists (last accessed Jan. 22, 2024).
38
  Pilar Melendez, Famous Author Jane Friedman Finds AI Fakes Being Sold Under Her Name on Amazon, The
Daily Beast (Aug. 8, 2023), available at https://www.thedailybeast.com/author-jane-friedman-finds-ai-fakes-being-
sold-under-her-name-on-amazon (last accessed Jan. 22, 2024).
39
   Ted Johnson, OpenAI CEO Sam Altman Says Content Owners Need To Get “Significant Upside Benefit” From
New Technology, Deadline (May 16, 2023), available at https://deadline.com/2023/05/ai-chat-gpt-senate-sam-
altman-1235368420/ (last accessed Jan. 22. 2024).


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            155. Plaintiffs and other professional writers are thus reasonably concerned about the

 risks OpenAI’s conduct poses to their livelihoods specifically and the literary arts generally.

            156. To this end, Plaintiff The Authors Guild, among others, have given voice to these

 concerns on behalf of working American authors.

            157. The Authors Guild is the nation’s oldest and largest professional writers’

 organization. It “exists to support working writers and their ability to earn a living from

 authorship.”40

            158. Among other principles, The Authors Guild holds that “authors should not be

 required to write or speak without compensation. Writers, like all professionals, should receive

 fair payment for their work.”41

            159. In June 2023, The Authors Guild wrote an open letter (the “Open Letter”) calling

 on OpenAI and other major technology companies to fairly license authors’ works for use in

 LLM “training.”

            160. The Open Letter emphasizes that “[g]enerative AI technologies built on large

 language models owe their existence to our writings,” and protests “the inherent injustice in

 exploiting our works as part of your AI systems without our consent, credit, or compensation.”42

            161. The Open Letter also points to the risks to authors’ livelihoods posed by

 generative AI like GPT-N and ChatGPT: “As a result of embedding our writings in your

 systems, generative AI threatens to damage our profession by flooding the market with

 mediocre, machine-written books, stories, and journalism based on our work. ... The

 introduction of generative AI threatens ... to make it even more difficult, if not impossible, for




40
     Authors Guild, https://authorsguild.org (last accessed Jan. 22, 2024).
41
     Authors Guild, Principles, https://authorsguild.org/about/principles (last accessed Jan. 22, 2024).



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 writers—especially young writers and voices from under-represented communities—to earn a

 living from their profession.”43

            162. To date, the Open Letter has been signed by more than 15,000 authors,44

 including many Plaintiffs here.45

            163. In short, the success and profitability of OpenAI are predicated on mass copyright

 infringement without a word of permission from or a nickel of compensation to copyright

 owners, including Plaintiffs here. OpenAI knows it; its investors know it; and Plaintiffs know it.

           E.       Defendants Have Profited From Their Unlicensed Exploitation of

Copyrighted Material At the Expense of Authors

            164. Microsoft and OpenAI have enjoyed substantial commercial gain from their GPT-

 based commercial offerings, including ChatGPT Plus, ChatGPT Enterprise, Bing Chat, and the

 licensing of the OpenAI API for businesses seeking to develop their own generative AI systems

 built on top of GPT-3, GPT-3.5, or GPT-4.

            165. As of November 2023, ChatGPT has reported over 100 million weekly active

 users. Included among those users are 92% of all Fortune 500 companies.46 OpenAI has

 generated revenue through its subscription services, ChatGPT Plus ($20/month) and its

 business-focused ChatGPT Enterprise. OpenAI is currently generating revenue of more than

 $100 million per month, on pace for $1.3 billion per year.



42
     Open Letter from The Authors Guild to Sam Altman et al., at 1, available at
https://authorsguild.org/app/uploads/2023/07/Authors-Guild-Open-Letter-to-Generative-AI-Leaders.pdf (last
accessed Jan. 22, 2024).
43
     Id.
44
   Authors Guild, Open Letter to Generative AI Leaders, available at https://actionnetwork.org/petitions/authors-
guild-open-letter-to-generative-ai-leaders (last accessed Jan. 22, 2024).
45
     See Open Letter, supra, at 2–124.
46
   Aisha Malik, OpenAI’s ChatGPT Now Has 100 Million Weekly Active Users, (last visited Nov. 20, 20230,
https://techcrunch.com/2023/11/06/openais-chatgpt-now-has-100-million-weekly-active-users/.


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            166. Microsoft has also reaped the benefits from its investment and development of

 ChatGPT. Since incorporating GPT-3 into its Bing search engine, Bing surpassed more than 100

 million daily active users for the first time in its history. That surge was in large part attributable

 to the incorporation of OpenAI’s GPT models, as large percentage of Bing’s new users are

 using Bing Chat daily.

            167. Microsoft has also been integrating ChatGPT into Azure and Office 365 products

 and charging add-on fees for users seeking to take advantage of generative AI offerings.

 Microsoft Teams is charging an additional license for use of AI features. Microsoft has also

 unveiled a GPT-4-powered product called Microsoft 365 Copilot, which, according to

 Microsoft, “combines the power of large language models (LLMs) with your data in the

 Microsoft Graph and the Microsoft 365 apps to turn your words into the most powerful

 productivity tool on the planet.” Microsoft Copilot is $30 per month. Analysts project that the

 integration of GPT into Microsoft products could generate more than $10 billion in annualized

 revenue by 2026, 47 with just one version of this integration—“GitHub Copilot”—already

 generating more than $100 million in annual recurring revenue.48

           F.       Defendants Exploited Each of Plaintiffs’ Copyrighted Works

           1.       Fiction Authors

            168. Plaintiffs’ works collectively span a wide range of commercial fiction whose

 continuing commercial viability is endangered by Defendants. Each author represented here has

 a distinct voice, a distinct style, and distinct creative expression. But all Plaintiffs have suffered

 identical harms from Defendants’ infringing reproductions of their works.




47
     Novet, supra Note 3, (last visited Nov. 20, 2023).
48
     Holmes, supra Note 4, (last visited Nov. 20, 2023).


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       169. The contents of the datasets OpenAI has used to “train” its LLMs are peculiarly

within its knowledge and not publicly disclosed, such that Plaintiffs are unable discern those

contents with perfect accuracy. Plaintiffs make the specific allegations of infringement below

based on what is known about OpenAI’s training practices; what is known about the contents,

uses, and availability of the pirate book repositories such as LibGen, Bibliotik, and Z-Library;

and the results of Plaintiffs’ testing of ChatGPT.

       170. Most Plaintiffs have written more books than are included in this Complaint.

       171. Plaintiff The Authors Guild. The Authors Guild is the owner of the registered

copyrights in Mignon Eberhart’s works, including While the Patient Slept and The Patient in

Room 18.

       172. Mignon G. Eberhart (1899–1996), dubbed “America’s Agatha Christie,” was the

author of dozens of mystery novels over nearly sixty years. Several of Eberhart’s novels have

been adapted for film, including Hasty Wedding, Mystery House, While the Patient Slept, The

Patient in Room 18, and The White Cockatoo.

       173. The Authors Guild is the owner or beneficial owner of the registered copyrights in

eleven (11) written works of fiction, all or many of which OpenAI ingested and copied without

permission (the “Authors Guild Infringed Works”).

       174. The registration information for the Authors Guild Infringed Works is contained

in Exhibit A to this Complaint, at 1.

       175. OpenAI unlawfully and willfully copied the Authors Guild Infringed Works and

used them to “train” OpenAI’s LLMs without The Authors Guild’s permission.

       176. For example, when prompted, ChatGPT accurately generated summaries of

several of the Authors Guild Infringed Works, including summaries for While the Patient Slept

and The Patient in Room 18.


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       177. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of While the Patient Slept, one of the Authors Guild

Infringed Works, and titled the infringing and unauthorized derivative “Shadows Over Federie

House,” using the same characters from Eberhart’s existing book.

       178. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of The Patient in Room 18, one of the Authors Guild

Infringed Works, and titled the infringing and unauthorized derivative “Echoes from Room 18,”

using the same characters from Eberhart’s existing book.

       179. When prompted, ChatGPT generated an accurate summary of the final chapter of

While the Patient Slept, one of the Authors Guild Infringed Works.

       180. ChatGPT could not have generated the material described above if OpenAI’s

LLMs had not ingested and been “trained” on the Authors Guild Infringed Works.

       181. Plaintiff Baldacci. Baldacci is a best-selling author, philanthropist, and lawyer

whose novels have been adapted for film and television, published in over 45 languages and in

more than 80 countries, with 150 million copies sold worldwide. Some of Baldacci’s most

popular works include books in the Camel Club series, Vega Jane series, and Archer series.

       182. Baldacci is a member of The Authors Guild.

       183. Baldacci is the sole author of and owner or beneficial owner of the registered

copyrights in forty-one (41) written works of fiction, all or many of which OpenAI ingested and

copied without permission (the “Baldacci Infringed Works”).

       184. The registration information for the Baldacci Infringed Works is contained in

Exhibit A to this Complaint, at 1–2.

       185. OpenAI unlawfully and willfully copied the Baldacci Infringed Works and used

them to “train” OpenAI’s LLMs without Baldacci’s permission.


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          186. For example, when prompted, ChatGPT accurately generated summaries of

several of the Baldacci Infringed Works, including summaries of The Collectors, The Finisher,

and One Good Deed.

          187. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of The Simple Truth, one of the Baldacci Infringed

Works, and titled the infringing and unauthorized derivative “The Complex Justice,” using the

same characters from Baldacci’s existing book.

          188. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of Total Control, one of the Baldacci Infringed Works,

and titled the infringing and unauthorized derivative “Total Control: Unfinished Business,”

using the same characters from Baldacci’s existing book.

          189. When prompted, ChatGPT generated an accurate summary of the final chapter of

Long Road to Mercy, one of the Baldacci Infringed Works.

          190. ChatGPT could not have generated the material described above if OpenAI’s

LLMs had not ingested and been “trained” on the Baldacci Infringed Works.

          191. Plaintiff Bly. Bly is a tenured professor and chair of the English department at

Fordham University who also writes best-selling Regency and Georgian romance novels under

the pen name Eloisa James. Some of Bly’s most popular works include books in the Desperate

Duchesses series, the Fairy Tales series, the Wildes of Lindow Castle series, and the Essex

series.

          192. Bly is a Vice President of The Authors Guild Council and a member of The

Authors Guild.




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       193. Bly is the sole author of and owner or beneficial owner of the registered

copyrights in thirty-three (33) written works of fiction, all or many of which OpenAI ingested

and copied without permission (the “Bly Infringed Works”).

       194. The registration information for the Bly Infringed Works is contained in Exhibit

A to this Complaint, at 2–3.

       195. OpenAI unlawfully and willfully copied the Bly Infringed Works used them to

“train” OpenAI’s LLMs without Bly’s permission.

       196. For example, when prompted, ChatGPT generated an infringing, unauthorized,

and detailed outline for the next purported installment of This Duchess of Mine, one of the Bly

Infringed Works, and titled the infringing and unauthorized derivative “The Duchess’ New

Dawn,” using the same characters from Bly’s existing book.

       197. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of An Affair Before Christmas, one of the Bly

Infringed Works, and titled the infringing and unauthorized derivative “Whispers of Winter,”

using the same characters from Bly’s existing book.

       198. When prompted, ChatGPT generated an accurate summary of the final chapter of

A Duke of Her Own, one of the Bly Infringed Works.

       199. ChatGPT could not have generated the material described above if OpenAI’s

LLMs had not ingested and been “trained” on the Bly Infringed Works.

       200. Plaintiff Connelly. Connelly is a best-selling author with over 85 million copies

of his books sold worldwide and translated into 45 foreign languages. Some of Connelly’s most

popular novels include The Lincoln Lawyer, City of Bones, and The Law of Innocence.

       201. Connelly is a member of The Authors Guild.




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       202. Connelly is the sole author of and owner or beneficial owner of the registered

copyrights in forty-six (46) written works of fiction, all or many of which OpenAI ingested and

copied without permission (the “Connelly Infringed Works”).

       203. The registration information for the Connelly Infringed Works is contained in

Exhibit A to this Complaint, at 3–4.

       204. OpenAI unlawfully and willfully copied the Connelly Infringed Works and used

them to “train” OpenAI’s LLMs without Connelly’s permission.

       205. For example, when prompted, ChatGPT accurately generated summaries of

several of the Connelly Infringed Works, including summaries for The Black Echo, The Poet,

and The Crossing.

       206. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of The Lincoln Lawyer, one of the Connelly Infringed

Works, and titled the infringing and unauthorized derivative “The City’s Shadows,” using the

same characters from Connelly’s existing book.

       207. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of The Brass Verdict, one of the Connelly Infringed

Works, and titled the infringing and unauthorized derivative “Double-Edged Justice,” using the

same characters from Connelly’s existing book.

       208. When prompted, ChatGPT generated an accurate summary of the final chapter of

The Late Show, one of the Connelly Infringed Works.

       209. ChatGPT could not have generated the material described above if OpenAI’s

LLMs had not ingested and been “trained” on the Connelly Infringed Works.

       210. Plaintiff Day. Day is a best-selling author of over twenty award-winning novels,

including ten New York Times best sellers and thirteen USA Today best sellers. Her work has


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been translated into forty-one languages. Some of Day’s most popular novels include books in

The Crossfire® Saga series, the Georgian series, and the Marked series.

         211. Day is a member of The Authors Guild Council and a member of The Authors

Guild.

         212. Day is the sole author of and owner or beneficial owner of the registered

copyrights in thirty-one (31) written works of fiction, all or many of which OpenAI ingested

and copied without permission (the “Day Infringed Works”).

         213. The registration information for the Day Infringed Works is contained in Exhibit

A to this Complaint, at 4.

         214. OpenAI unlawfully and willfully copied the Day Infringed Works and used them

to “train” OpenAI’s LLMs without Day’s permission.

         215. For example, when prompted, ChatGPT accurately generated summaries of

several of the Day Infringed Works, including summaries for Bared to You, One With You, and

Ask For It.

         216. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of A Touch of Crimson, one of the Day Infringed

Works, and titled the infringing and unauthorized derivative “Crimson Temptations: A Love

Rekindled,” using the same characters from Day’s existing book.

         217. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of Butterfly in Frost, one of the Day Infringed Works,

and titled the infringing and unauthorized derivative “Butterfly in Frost: Embers of Desire,”

using the same characters from Day’s existing book.

         218. When prompted, ChatGPT generated an accurate summary of the final chapter of

The Stranger I Married, one of the Day Infringed Works.


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       219. ChatGPT could not have generated the material described above if OpenAI’s

LLMs had not ingested and been “trained” on the Day Infringed Works.

       220. Plaintiff Franzen. Franzen is a novelist whose honors include the National Book

Award, the James Tait Black Memorial Award, the Heartland Prize, Die Welt Literature Prize,

the Budapest Grand Prize, and the first Carlos Fuentes Medal awarded at the Guadalajara

International Book Fair. Franzen is a member of the American Academy of Arts and Letters, the

American Academy of Arts and Sciences, the German Akademie der Künste, and the French

Ordre des Arts et des Lettres. Some of Franzen’s most popular novels include The Corrections,

Purity, and Freedom.

       221. Franzen is a member of The Authors Guild.

       222. Franzen is the sole author of and owner or beneficial owner of the registered

copyrights in five (5) written works of fiction, all or many of which OpenAI ingested and

copied without permission (the “Franzen Infringed Works”).

       223. The registration information for the Franzen Infringed Works is contained in

Exhibit A to this Complaint, at 4–5.

       224. OpenAI unlawfully and willfully copied the Franzen Infringed Works and used

them to “train” OpenAI’s LLMs without Franzen’s permission.

       225. For example, when prompted, ChatGPT accurately generated summaries of

several of the Franzen Infringed Works, including summaries for The Corrections, Purity, and

Freedom.

       226. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of The Corrections, one of the Franzen Infringed

Works, and titled the infringing and unauthorized derivative “Revisions,” using the same

characters from Franzen’s existing book.


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       227. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of The Twenty-Seventh City, one of the Franzen

Infringed Works, and titled the infringing and unauthorized derivative “The Rising Metropolis,”

using the same characters from Franzen’s existing book.

       228. When prompted, ChatGPT generated an accurate summary of the final chapter of

Freedom, one of the Franzen Infringed Works.

       229. ChatGPT could not have generated the material described above if OpenAI’s

LLMs had not ingested and been “trained” on the Franzen Infringed Works.

       230. Plaintiff Grisham. Grisham is a civically engaged and best-selling author. His

award-winning work has been translated into approximately 50 languages and adapted for both

television and film. Some of Grisham’s most popular novels include The Pelican Brief, The

Runaway Jury, and The Rainmaker.

       231. Grisham is a member of The Authors Guild.

       232. Grisham is the sole author of and owner or beneficial owner of the registered

copyrights in twenty-six (26) written works of fiction, all or many of which OpenAI ingested

and copied without permission (the “Grisham Infringed Works”).

       233. The registration information for the Grisham Infringed Works is contained in

Exhibit A to this Complaint, at 5.

       234. OpenAI unlawfully and willfully copied the Grisham Infringed Works and used

them to “train” OpenAI’s LLMs without Grisham’s permission.

       235. For example, when prompted, ChatGPT accurately generated summaries of

several of the Grisham Infringed Works, including summaries for The Chamber, The Client, and

The Firm.




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       236. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of The King of Torts, one of the Grisham Infringed

Works, and titled the infringing and unauthorized derivative “The Kingdom of Consequences,”

using the same characters from Grisham’s existing book.

       237. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of The Last Juror, one of the Grisham Infringed

Works, and titled the infringing and unauthorized derivative “The Juror’s Dilemma,” using the

same characters from Grisham’s existing book.

       238. When prompted, ChatGPT generated an accurate summary of the final chapter of

The Litigators, one of the Grisham Infringed Works.

       239. ChatGPT could not have generated the material described above if OpenAI’s

LLMs had not ingested and been “trained” on the Grisham Infringed Works.

       240. Plaintiff Hilderbrand. Hilderbrand is a best-selling author, whose works include

novels in the romance genre adapted for television. Hilderbrand has previously taught writing at

the University of Iowa. Some of Hilderbrand’s most popular novels include The Summer of ‘69,

The Identicals, and The Perfect Couple.

       241. Hilderbrand is the sole author of and owner or beneficial owner of the registered

copyrights in twenty-nine (29) written works of fiction, all or many of which OpenAI ingested

and copied without permission (the “Hilderbrand Infringed Works”).

       242. The registration information for the Hilderbrand Infringed Works is contained in

Exhibit A to this Complaint, at 5–6.

       243. OpenAI unlawfully and willfully copied the Hilderbrand Infringed Works and

used them “train” OpenAI’s LLMs without Hilderbrand’s permission.




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         244. For example, when prompted, ChatGPT accurately generated summaries of

several of the Hilderbrand Infringed Works, including summaries for The Summer of ‘69, The

Identicals, and The Perfect Couple.

         245. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of The Identicals, one of the Hilderbrand Infringed

Works, and titled the infringing and unauthorized derivative “The Reckoning of Twins,” using

the same characters from Hilderbrand’s existing book.

         246. When prompted, ChatGPT generated an accurate summary of the final chapter of

The Perfect Couple, one of the Hilderbrand Infringed Works.

         247. ChatGPT could not have generated the material described above if OpenAI’s

LLMs had not ingested and been “trained” on the Hilderbrand Infringed Works.

         248. Plaintiff Kline. Kline is a globally published author who writes best-selling

novels and has taught different disciplines of writing at Yale University, New York University,

and the University of Virginia. Some of Kline’s most popular novels include Orphan Train, A

Piece of the World, and Bird in Hand.

         249. Kline is a member of The Authors Guild Council and a member of The Authors

Guild.

         250. Kline is the sole author of and owner or beneficial owner of the registered

copyrights in five (5) written works of fiction, all or many of which OpenAI ingested and

copied without permission (the “Kline Infringed Works”).

         251. The registration information for the Kline Infringed Works is contained in Exhibit

A to this Complaint, at 6.

         252. OpenAI unlawfully and willfully copied the Kline Infringed Works and used them

to “train” OpenAI’s LLMs without Kline’s permission.


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       253. For example, when prompted, ChatGPT accurately generated summaries of

several of the Kline Infringed Works, including summaries for Orphan Train, A Piece of the

World, and Bird in Hand.

       254. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of Orphan Train, one of the Kline Infringed Works,

and titled the infringing and unauthorized derivative “Legacy Rails,” using the same characters

from Kline’s existing book.

       255. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of Bird in Hand, one of the Kline Infringed Works,

and titled the infringing and unauthorized derivative “Ties That Bind,” using the same

characters from Kline’s existing book.

       256. When prompted, ChatGPT generated an accurate summary of the final chapter of

A Piece of the World, one of the Kline Infringed Works.

       257. ChatGPT could not have generated the material described above if OpenAI’s

LLMs had not ingested and been “trained” on the Kline Infringed Works.

       258. Plaintiff Lang. Lang is an author and teacher who holds a doctorate in

Comparative Literature. Lang is the author of the novel The Sixteenth of June.

       259. Lang is the President and a member of The Authors Guild.

       260. Lang is the sole author of and owner or beneficial owner of the registered

copyrights in one (1) written work of fiction that OpenAI ingested and copied without

permission (the “Lang Infringed Work”).

       261. The registration information for the Lang Infringed Work is contained in Exhibit

A to this Complaint, at 6.




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       262. OpenAI unlawfully and willfully copied the Lang Infringed Work and used it to

“train” OpenAI’s LLMs without Lang’s permission.

       263. When prompted, ChatGPT accurately generated a summary of the Lang Infringed

Work, The Sixteenth of June.

       264. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of The Sixteenth of June, the Lang Infringed Work,

and titled the infringing and unauthorized derivative “The Seventeenth of June,” using the same

characters from Lang’s existing book.

       265. ChatGPT could not have generated the material described above if OpenAI’s

LLMs had not ingested and been “trained” on the Lang Infringed Work.

       266. Plaintiff LaValle. LaValle is an associate professor of Creative Writing at

Columbia University and the author of five novels, a short story collection, two novellas, and

two comic books. Some of LaValle’s most popular novels include Big Machine, The Devil in

Silver, and The Changeling.

       267. LaValle is the sole author of and owner or beneficial owner of the registered

copyrights in six (6) written works of fiction, all or many of which OpenAI ingested and copied

without permission (the “LaValle Infringed Works”).

       268. The registration information for the LaValle Infringed Works is contained in

Exhibit A to this Complaint, at 6.

       269. OpenAI unlawfully and willfully copied the LaValle Infringed Works and used

them to “train” OpenAI’s LLMs without LaValle’s permission.

       270. For example, when prompted, ChatGPT accurately generated summaries of

several of the LaValle Infringed Works, including summaries for Big Machine, The Devil in

Silver, and The Changeling.


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       271. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of The Changeling, one of the LaValle Infringed

Works, and titled the infringing and unauthorized derivative “The Fae’s Return,” using the same

characters from LaValle’s existing book.

       272. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of The Devil in Silver, one of the LaValle Infringed

Works, and titled the infringing and unauthorized derivative “The New Hyde Legacy,” using the

same characters from LaValle’s existing book.

       273. When prompted, ChatGPT generated an accurate summary of the final chapter of

Big Machine, one of the LaValle Infringed Works.

       274. ChatGPT could not have generated the material described above if OpenAI’s

LLMs had not ingested and been “trained” on the LaValle Infringed Works.

       275. Plaintiff Martin. Martin is an award-winning author, television producer, and

writer who is widely known for his fantasy, science fiction, and horror writing. Some of

Martin’s most popular novels include A Game of Thrones, A Clash of Kings, and A Storm of

Swords.

       276. Martin is the sole author of and owner or beneficial owner of the registered

copyrights in fifteen (15) written works of fiction, all or many of which OpenAI ingested and

copied without permission (the “Martin Infringed Works”).

       277. The registration information for the Martin Infringed Works is contained in

Exhibit A to this Complaint, at 6–7.

       278. OpenAI unlawfully and willfully copied the Martin Infringed Works and used

them to “train” OpenAI’s LLMs without Martin’s permission.




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         279. In July 2023, Liam Swayne used ChatGPT to generate versions of The Winds of

 Winter and A Dream of Spring, intended to be the final two books in the series A Song of Ice

 and Fire, which Martin is currently writing.

         280. An experiment conducted by researchers at the University of California, Berkeley,

 into the “memorization” of works by ChatGPT found that Martin’s novel A Game of Thrones

 ranked 12th with respect to the degree of “memorization.”49

         281. When prompted, ChatGPT accurately generated summaries of several of the

 Martin Infringed Works, including summaries for Martin’s novels A Game of Thrones, A Clash

 of Kings, and A Storm of Swords, the first three books in the series A Song of Ice and Fire.

         282. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

 outline for an alternate sequel to A Clash of Kings, one of the Martin Infringed Works, and titled

 the infringing and unauthorized derivative “A Dance With Shadows,” using the same characters

 from Martin’s existing books in the series A Song of Ice and Fire.

         283. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

 outline for a prequel book to A Game of Thrones, one of the Martin Infringed Works, and titled

 the infringing and unauthorized derivative “A Dawn of Direwolves,” using the same characters

 from Martin’s existing books in the series A Song of Ice and Fire.

         284. When prompted, ChatGPT generated an accurate summary of the final chapter of

 The Armageddon Rag, one of the Martin Infringed Works.

         285. ChatGPT could not have generated the results described above if OpenAI’s LLMs

 had not ingested and been “trained” on the Martin Infringed Works.




49
   See Kent K. Chang et al., Speak, Memory: An Archaeology of Books Known to ChatGPT/GPT-4 (2023), available
at https://arxiv.org/pdf/2305.00118v1.pdf (last accessed Dec. 4, 2023).



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       286. Plaintiff Picoult. A New York Times best-selling author, Picoult writes popular

fiction. Picoult is also the recipient of many awards, including the New England Bookseller

Award for Fiction, the Alex Awards from the YALSA, a lifetime achievement award for

mainstream fiction from the Romance Writers of America, the NH Literary Award for

Outstanding Literary Merit and the Sarah Josepha Hale Award. Some of Picoult’s most popular

novels include My Sister’s Keeper, Nineteen Minutes, and House Rules.

       287. Picoult is a member of The Authors Guild.

       288. Picoult is the sole author of and owner or beneficial owner of the registered

copyrights in twenty-seven (27) written works of fiction, all or many of which OpenAI ingested

and copied without permission (the “Picoult Infringed Works”).

       289. The registration information for the Picoult Infringed Works is contained in

Exhibit A to this Complaint, at 7.

       290. OpenAI unlawfully and willfully copied the Picoult Infringed Works and used

them to “train” OpenAI’s LLMs without Picoult’s permission.

       291. For example, when prompted, ChatGPT accurately generated summaries of

several of the Picoult Infringed Works, including summaries for Keeping Faith, Handle With

Care, and Sing You Home.

       292. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of The Small Great Things, one of the Picoult

Infringed Works, and titled the infringing and unauthorized derivative “Small Great Things:

Unfinished Business,” using the same characters from Picoult’s existing book.

       293. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of My Sister’s Keeper, one of the Picoult Infringed




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Works, and titled the infringing and unauthorized derivative as “My Sister’s Legacy,” using the

same characters from Picoult’s existing book.

         294. When prompted, ChatGPT generated an accurate summary of the final chapter of

Change of Heart, one of the Picoult Infringed Works.

         295. ChatGPT could not have generated the material described above if OpenAI’s

LLMs had not ingested and been “trained” on the Picoult Infringed Works.

         296. Plaintiff Preston. Preston is an author and journalist who has received awards for

his writing, both in America and abroad, and previously taught writing at Princeton University.

Some of Preston’s most popular novels include Blasphemy, Impact, and The Codex.

         297. Preston is a member of The Authors Guild and past President of The Authors

Guild Council.

         298. Preston is the sole author of and owner or beneficial owner of the registered

copyrights in six (6) written works of fiction, all or many of which OpenAI ingested and copied

without permission (the “Preston Infringed Works”).

         299. The registration information for the Preston Infringed Works is contained in

Exhibit A to this Complaint, at 7.

         300. OpenAI unlawfully and willfully copied the Preston Infringed Works and used

them to “train” OpenAI’s LLMs without Preston’s permission.

         301. For example, when prompted, ChatGPT accurately generated summaries of

several of the Preston Infringed Works, including summaries for Impact, Blasphemy, and The

Codex.

         302. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of Impact, one of the Preston Infringed Works, and




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titled the infringing and unauthorized derivative “Unearthed Secrets,” using the same characters

from Preston’s existing book.

         303. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of The Codex, one of the Preston Infringed Works,

and titled the infringing and unauthorized derivative “The Codex: The Lost Dynasty,” using the

same characters from Preston’s existing book.

         304. When prompted, ChatGPT generated an accurate summary of the final chapter of

The Kraken Project, one of the Preston Infringed Works.

         305. ChatGPT could not have generated the material described above if OpenAI’s

LLMs had not ingested and been “trained” on the Preston Infringed Works.

         306. Plaintiff Robinson. Robinson is an award-winning author with a wide reach,

having written six novels and three collections of short stories, whose fiction has appeared in

internationally   respected     publications   and   whose   books    have    been    published

internationally. Some of Robinson’s most popular novels include Dawson’s Fall, Sparta, and

Cost.

         307. Robinson is a member of The Authors Guild and a past President of The Authors

Guild Council.

         308. Robinson is the sole author of and owner or beneficial owner of the registered

copyrights in eight (8) written works of fiction, all or many of which OpenAI ingested and

copied without permission (the “Robinson Infringed Works”).

         309. The registration information for the Robinson Infringed Works is contained in

Exhibit A to this Complaint, at 7–8.

         310. OpenAI unlawfully and willfully copied the Robinson Infringed Works and used

them to “train” OpenAI’s LLMs without Robinson’s permission.


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         311. For example, when prompted, ChatGPT accurately generated summaries of

several of the Robinson Infringed Works, including summaries of Cost, Sparta and Dawson's

Fall.

         312. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of Dawson’s Fall, one of the Robinson Infringed

Works, and titled the infringing and unauthorized derivative “Dawson’s Legacy,” using the

same characters from Robinson’s existing book.

         313. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of Sparta, one of the Robinson Infringed Works, and

titled the infringing and unauthorized derivative “Homefront,” using the same characters from

Robinson’s existing book.

         314. When prompted, ChatGPT generated an accurate summary of the final chapter of

Sparta, one of the Robinson Infringed Works.

         315. ChatGPT could not have generated the material described above if OpenAI’s

LLMs had not ingested and been “trained” on the Robinson Infringed Works.

         316. Plaintiff Saunders. Saunders is a professor in the English department at Syracuse

University, who also writes best-selling books of fiction. Some of Saunders’ most popular

works include the short story titled Escape From Spiderhead, a novel titled Lincoln in the

Bardo, and a novella titled The Brief and Frightening Reign of Phil.

         317. Saunders is a member of The Authors Guild.

         318. Saunders is the sole author of and owner or beneficial owner of the registered

copyrights in seven (7) written works of fiction, all or many of which OpenAI ingested and

copied without permission (the “Saunders Infringed Works”).




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       319. The registration information for the Saunders Infringed Works is contained in

Exhibit A to this Complaint, at 8.

       320. OpenAI unlawfully and willfully copied the Saunders Infringed Works and used

them to “train” OpenAI’s LLMs without Saunders’s permission.

       321. For example, when prompted, ChatGPT accurately generated summaries of

several of the Saunders Infringed Works, including summaries for CivilWarLand in Bad

Decline, Lincoln in the Bardo, and Tenth of December.

       322. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of Fox 8, one of the Saunders Infringed Works, and

titled the infringing and unauthorized derivative “Fox 8 and the Hidden World,” using the same

characters from Saunders’s existing book.

       323. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of The Tenth of December, one of the Saunders

Infringed Works, and titled the infringing and unauthorized derivative “The Eleventh of

December: A Continuation,” using the same characters from Saunders’s existing book.

       324. When prompted, ChatGPT generated an accurate summary of the conclusion of

Escape From Spiderhead, one of the Saunders Infringed Works.

       325. ChatGPT could not have generated the material described above if OpenAI’s

LLMs had not ingested and been “trained” on the Saunders Infringed Works.

       326. Plaintiff Turow. A best-selling author, Turow is a novelist and lawyer who is best

known for setting his novels in fictional Kindle County’s legal community. Some of Turow’s

most popular novels include The Last Trial, Testimony, and Identical.

       327. Turow is a member of The Authors Guild and past President of The Authors

Guild Council.


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       328. Turow is the sole author of and owner or beneficial owner of the registered

copyrights in sixteen (16) written works of fiction, all or many of which OpenAI ingested and

copied without permission (the “Turow Infringed Works”).

       329. The registration information for the Turow Infringed Works is contained in

Exhibit A to this Complaint, at 8.

       330. OpenAI unlawfully and willfully copied the Turow Infringed Works and used

them to “train” OpenAI’s LLMs without Turow’s permission.

       331. For example, when prompted, ChatGPT accurately generated summaries of

several of the Turow Infringed Works, including summaries for The Burden of Proof, Innocent,

and Testimony.

       332. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of The Last Trial, one of the Turow Infringed Works,

and titled the infringing and unauthorized derivative “Echoes of Judgment,” using the same

characters from Turow’s existing book.

       333. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of Pleading Guilty, one of the Turow Infringed

Works, and titled the infringing and unauthorized sequel “Redemption’s Price,” using the same

characters from Turow’s existing book.

       334. When prompted, ChatGPT generated an accurate summary of the final chapter of

Ordinary Heroes, one of the Turow Infringed Works.

       335. ChatGPT could not have generated the material described above if OpenAI’s

LLMs had not ingested and been “trained” on the Turow Infringed Works.




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       336. Plaintiff Vail. Rachel Vail is an award-winning American author who primarily

authors children’s and young adult books. Some of Vail’s most popular novels include Ever

After, Unfriended, and Justin Case: School, Drool, and Other Daily Disasters.

       337. Vail is a member of The Authors Guild and a member of The Authors Guild

Council.

       338. Vail is the sole author of and owner or beneficial owner of the registered

copyrights in twenty-four (24) written works of fiction, all or many of which OpenAI ingested

and copied without permission (the “Vail Infringed Works”).

       339. The registration information for the Vail Infringed Works is contained in Exhibit

A to this Complaint, at 8–9.

       340. OpenAI unlawfully and willfully copied the Vail Infringed Works and used them

to “train” its LLMs without Vail’s permission.

       341. For example, when prompted, ChatGPT accurately generated summaries of

several of the Vail Infringed Works, including summaries for If We Kiss, A Is For Elizabeth,

and Not That I Care.

       342. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of Bad Best Friend, one of the Vail Infringed Works,

and titled the infringing and unauthorized derivative “Redeeming Friendship,” using the same

characters from Vail’s existing book.

       343. When prompted, ChatGPT generated an infringing, unauthorized, and detailed

outline for the next purported installment of Do-Over, one of the Vail Infringed Works, and

titled the infringing and unauthorized derivative “Do-Over: Second Chances,” using the same

characters from Vail’s existing book.




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        344. When prompted, ChatGPT generated an accurate summary of the final chapter of

Daring to be Abigail, one of the Vail Infringed Works.

        345. ChatGPT could not have generated the material described above if OpenAI’s

LLMs had not ingested and been “trained” on the Vail Infringed Works.

       2.      Nonfiction Authors

       346.    While OpenAI and Microsoft have kept the contents of their training data secret,

it is likely that, in training their GPT models, they reproduced all or nearly all commercially

successful nonfiction books. As OpenAI investor Andreesen Horowitz has admitted, “large

language models,” like Defendants’ GPT models, “are trained on something approaching the

entire corpus of the written word,” a corpus that would of course include Plaintiffs’ works.

       347.    The size of the Books2 database—the “internet based books corpora” that

Defendants used to train GPT-3, GPT-3.5, and possibly GPT-4 as well—has led commentators to

believe that Books2 is comprised of books scraped from entire pirated online libraries such as

LibGen, ZLibrary, or Bibliotik. Shawn Presser, an independent software developer, created an

open-source set of training data called Books3, which was intended to give developers, in his

words, “OpenAI-grade training data.” The Books3 dataset, similar in size to Books2, was built

from a corpus of pirated copies of books available on the site Bibliotik. Works authored and

owned by Plaintiffs Alter, Bird, Branch, Cohen, Linden, Okrent, Sancton, Sides, Schiff, Shapiro,

Tolentino, and Winchester are available on Books3, an indication that these works were also

likely included in the similarly sized Books2.

       348.    Plaintiff Alter. Alter is the author of a number of New York Times bestsellers,

including The Center Holds: Obama and His Enemies; The Promise: President Obama, Year

One; and The Defining Moment: FDR’s Hundred Days and the Triumph of Hope. Each of those

three books are a part of the Books3 dataset. Pirated copies of each of those three books—as well


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as most recent book His Very Best: Jimmy Carter, A Life—are available on the internet through

websites like LibGen, ZLibrary, and/or Bibliotik, which likely sourced OpenAI’s Books2

dataset.

       349.    When prompted with questions about Alter’s books, ChatGPT returned detailed,

accurate summaries of them, including of The Center Holds and The Promise. Upon information

and belief, ChatGPT is able to return such detailed information only because it was trained on

Plaintiff Alter’s books.

       350.    Alter is the author and owner of the registered copyrights listed under his name in

Exhibit B.

       351.    Plaintiff Bird. Bird is the recipient of the 2006 Pulitzer Prize for Biography for

American Prometheus: The Triumph and Tragedy of J. Robert Oppenheimer. A number of this

books, including American Prometheus, The Good Spy, and The Color of Truth are a part of the

Books3 dataset. Pirated copies of each of all of his books are available on the internet through

websites like LibGen, ZLibrary, and/or Bibliotik, which likely sourced OpenAI’s Books2

dataset.

       352.    When prompted with questions about Bird’s books, ChatGPT returned detailed,

accurate summaries of them, including of American Prometheus and The Good Spy. Upon

information and belief, ChatGPT is able to return such detailed information only because it was

trained on Bird’s books.

       353.    Bird is the author and owner of the registered copyrights listed under his name in

Exhibit B.

       354.    Plaintiff Branch. Branch is the author of, among other works, America in the

King Years, a three-volume history of Martin Luther King Jr. and the Civil Rights Movement. He

received the 1989 Pulitzer Prize in History for the first volume in the series, Parting the Waters:


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America in the King Years, 1954-63. Five of his books, including Parting the Waters and The

Clinton Tapes, are a part of the Books3 dataset. Pirated copies of each of nearly all of his books

are available on the internet through websites like LibGen, ZLibrary, and/or Bibliotik, which

likely sourced OpenAI’s Books2 dataset.

       355.     When prompted with questions about Branch’s books, ChatGPT returned

detailed, accurate summaries of them, including of Parting the Waters and The Clinton Tapes.

Upon information and belief, ChatGPT is able to return such detailed information only because it

was trained on Plaintiff Branch’s books.

       356.     Branch is the author and owner of the registered copyrights listed under his name

in Exhibit B.

       357.     Plaintiff Cohen. Cohen is the author of several New York Times bestsellers,

including Tough Jews: Fathers, Sons and Gangster Dreams; Sweet and Low: A Family Story;

and The Sun & the Moon & the Rolling Stones. He is a contributing editor for Vanity Fair and

Rolling Stone and a columnist for The Wall Street Journal.

       358.     Six of his books, including Tough Jews and The Chicago Cubs, are a part of the

Books3 dataset. Pirated copies of each of nearly all of his books are available on the internet

through websites like LibGen, ZLibrary, and/or Bibliotik, which likely sourced OpenAI’s

Books2 dataset.

       359.     When prompted with questions about Plaintiff Cohen’s books, ChatGPT returned

detailed, accurate summaries of them, including of Tough Jews. Upon information and belief,

ChatGPT is able to return such detailed information only because it was trained on Plaintiff

Cohen’s books.

       360.     Cohen is the author and owner of the registered copyrights listed under his name

in Exhibit B.


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       361.     Plaintiff Linden. Linden is the author of nine nonfiction books, including The

Parrot’s Lament, and Other True Tales of Animal Intrigue, Intelligence, and Ingenuity; The

Octopus and the Orangutan: More True Tales of Animal Intrigue, Intelligence, and Ingenuity;

The Alms Race: The Impact of American Voluntary Aid Abroad; and Winds of Change.

       362.     Two of his books, The Parrot’s Lament and The Ragged Edge of the World, are a

part of the Books3 dataset. Pirated copies of a number of his books are available on the internet

through websites like LibGen, ZLibrary, and/or Bibliotik, which likely sourced OpenAI’s

Books2 dataset.

       363.     When prompted with questions about Plaintiff Linden’s books, ChatGPT returned

detailed, accurate summaries of them, including of The Octopus and the Orangutan. Upon

information and belief, ChatGPT is able to return such detailed information only because it was

trained on Plaintiff Linden’s books.

       364.     Linden is the author and owner of the registered copyrights listed under his name

in Exhibit B.

       365.     Plaintiff Okrent. Okrent is the author of a number of nonfiction books, including

Great Fortune: The Epic of Rockefeller Center, Last Call: The Rise and Fall of Prohibition, and

The Guarded Gate: Bigotry, Eugenics and the Law that Kept Two Generations of Jews, Italians

and Other European Immigrants Out of America.

       366.     At least three of his books, including Last Call and The Guarded Gate, are a part

of the Books3 dataset. Pirated copies of a number of his books are available on the internet

through websites like LibGen, ZLibrary, and/or Bibliotik, which likely sourced OpenAI’s

Books2 dataset.

       367.     When prompted with questions about Plaintiff Okrent’s books, ChatGPT returned

detailed, accurate summaries of them, including of Last Call and The Guarded Gate. Upon


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information and belief, ChatGPT is able to return such detailed information only because it was

trained on Plaintiff Okrent’s books.

       368.     Okrent is the author and owner of the registered copyrights listed under his name

in Exhibit B.

       369.     Plaintiff Sancton. Sancton the author of the New York Times bestseller Madhouse

at the End of the Earth: The Belgica’s Journey Into the Dark Antarctic Night. He is a senior

features editor of The Hollywood Reporter and his work has appeared in GQ, Wired, and The

New Yorker.

       370.     Pirated copies of his book Madhouse at the End of the Earth are available on the

internet through websites like LibGen, ZLibrary, and/or Bibliotik, which likely sourced

OpenAI’s Books2 dataset. When prompted with questions about Plaintiff Sancton’s book,

ChatGPT confirmed that Madhouse at the End of the Earth was part of its training dataset.

       371.     Sancton is the author and owner of the registered copyright listed under his name

in Exhibit B.

       372.     Plaintiff Sides. Sides is the author of a number of New York Times bestsellers,

including Ghost Soldiers: The Epic Account of World War II’s Greatest Rescue Mission and

Blood and Thunder: An Epic of the American West. He is an editor-at-large for Outside and is a

frequent contributor to National Geographic.

       373.     Six of his books, including Ghost Soldiers and Blood and Thunder, are a part of

the Books3 dataset. Pirated copies of all of his books are available on the internet through

websites like LibGen, ZLibrary, and/or Bibliotik, which likely sourced OpenAI’s Books2

dataset.

       374.     When prompted with questions about Plaintiff Sides’s books, ChatGPT returned

detailed, accurate summaries of them, including of Ghost Soldiers and Blood and Thunder. Upon


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information and belief, ChatGPT is able to return such detailed information only because it was

trained on Plaintiff Sides’s books.

         375.   Sides is the author and owner of the registered copyrights listed under his name in

Exhibit B.

         376.   Plaintiff Schiff. Schiff is the recipient of the 2000 Pulitzer Prize in Biography for

Véra (Mrs. Vladimir Nabokov). Plaintiff Schiff is also the author of the New York Times

bestsellers Cleopatra: A Life; The Witches: Salem, 1692; and The Revolutionary: Samuel Adams.

Her work has appeared in The New Yorker, The New York Review of Books, and The New York

Times.

         377.   At least five of her books, including The Witches and Cleopatra, are a part of the

Books3 dataset. Pirated copies of all of her books are available on the internet through websites

like LibGen, ZLibrary, and/or Bibliotik, which likely sourced OpenAI’s Books2 dataset.

         378.   When prompted with questions about Plaintiff Schiff’s books, ChatGPT returned

detailed, accurate summaries of them, including of The Witches and Cleopatra. Upon

information and belief, ChatGPT is able to return such detailed information only because it was

trained on Plaintiff Schiff’s books.

         379.   Schiff is the author and owner of the registered copyrights listed under her name

in Exhibit B.

         380.   Plaintiff Shapiro. Shapiro is the author of a number of nonfiction books,

including Oberammergau: The Troubling Story of the World’s Most Famous Passion Play and

1599: A Year in the Life of William Shakespeare. He is the Larry Miller Professor of English and

Comparative Literature at Columbia University.

         381.   At least four of his books, including The Year of Lear and Contested Will, are a

part of the Books3 dataset. Pirated copies of nearly all of his books are available on the internet


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through websites like LibGen, ZLibrary, and/or Bibliotik, which likely sourced OpenAI’s

Books2 dataset.

       382.     When prompted with questions about Plaintiff Shapiro’s books, ChatGPT

returned detailed, accurate summaries of them, including of Contested Will. Upon information

and belief, ChatGPT is able to return such detailed information only because it was trained on

Plaintiff Shapiro’s books.

       383.     Shapiro is the author and owner of the registered copyrights listed under his name

in Exhibit B.

       384.     Plaintiff Tolentino. She is the author of the New York Times bestseller Trick

Mirror: Reflections on Self-Delusion. She is a staff writer for The New Yorker whose work has

also appeared in The New York Times Magazine and Pitchfork.

       385.     Her book Trick Mirror part of the Books3 dataset. Pirated copies of it are widely

available on the internet through websites like LibGen, ZLibrary, and/or Bibliotik, which likely

sourced OpenAI’s Books2 dataset.

       386.     When prompted with questions about Trick Mirror, ChatGPT returned detailed,

accurate summaries of the book and its chapters. Upon information and belief, ChatGPT is able

to return such detailed information only because it was trained on Plaintiff Tolentino’s book.

       387.     Tolentino is the author and owner of the registered copyright listed under her

name in Exhibit B.

       388.     Plaintiff Winchester. Winchester is the author of several New York Times

bestsellers, including The Professor and the Madman; The Map That Changed the World:

William Smith and the Birth of Modern Geology; and The Men Who United the States: America's

Explorers, Inventors, Eccentrics, and Mavericks, and the Creation of One Nation, Indivisible.




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       389.    At least eleven of his books, including The Professor and the Madman and

Krakatoa, are a part of the Books3 dataset. Pirated copies of nearly all of his books are available

on the internet through websites like LibGen, ZLibrary, and/or Bibliotik, which likely sourced

OpenAI’s Books2 dataset.

       390.    When prompted with questions about Plaintiff Winchester’s books, ChatGPT

returned detailed, accurate summaries of them, including of The Professor and the Madman and

Krakatoa. Upon information and belief, ChatGPT is able to return such detailed information only

because it was trained on Plaintiff Winchester’s books.

       391.    Winchester is the author and owner of the registered copyrights listed under his

name in Exhibit B.

                                    CLASS ALLEGATIONS

       A.      Class Definitions

        392. This action is brought by Plaintiffs individually and on behalf of the Fiction and

Nonfiction Author Classes, as defined below, pursuant to Rule 23(b)(3) and 23(b)(1) of the

Federal Rules of Civil Procedure.

        393. The Fiction Author Class consists of:

               All natural persons in the United States who are the sole authors of, and legal or
               beneficial owners of Eligible Copyrights in, one or more Fiction Class Works;
               and all persons in the United States who are the legal or beneficial owners of
               Eligible Fiction Copyrights in one or more Fiction Class Works held by literary
               estates.

        394. Fiction Class Works is defined as follows:

               Any work of fiction, the text of which has been, or is being, used by Defendants
               to “train” one or more of Defendants’ large language models.

        395. Eligible Fiction Copyrights is defined as follows:

               Any copyright that was registered with the United States Copyright Office before
               or within five years after first publication of the work, and whose effective date of


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              registration is either within three months after first publication of the work or
              before Defendants began using the work to “train” one or more of Defendants’
              large language models.

       396. The Nonfiction Author Class consists of:

              All natural persons, literary trusts, and literary estates in the United States who are
              legal or beneficial owners of Eligible Nonfiction Copyrights in one or more
              Nonfiction Class Works; and all persons in the United States who are the legal or
              beneficial owners of Eligible Nonfiction Copyrights in one or more Fiction Class
              Works held by literary estates.

       397. Nonfiction Class Works is defined as follows:

              Any work of nonfiction (A) the text of which has been, or is being, used by
              Defendants to “train” one or more of Defendants’ large language models; (B) that
              have been assigned an International Standard Book Number (ISBN); and that fall
              within a Book Industry Standards and Communications (BISAC) code other than
              Reference (REF).50

       398. Eligible Nonfiction Copyrights is defined as follows:

              Any copyright that was registered with the United States Copyright Office before
              or within five years after first publication of the work.

       399. Excluded from the definitions of the Fiction Author Class and Nonfiction Author

Class above are Defendants; Defendants’ co-conspirators, aiders and abettors, and members of

their immediate families; Defendants’ corporate parents, subsidiaries, and affiliates;

Defendants’ directors, officers, employees, and other agents, as well as members of their

immediate families; and any judge who may preside over this action, the judge’s staff, and

members of their immediate families.

      B.      Rules 23(a) and 23(g)

       400. Both Classes consists of at least tens of thousands of authors and copyright

holders and thus are so numerous that joinder of all members is impractical.

       401. The identities of members of the Classes can be readily ascertained from business

records maintained by Defendants.




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            402. The claims asserted by Plaintiffs are typical of the claims of the Classes because

 their copyrights were infringed in materially the same way and their interests in preventing

 future infringement and redressing past infringement are materially the same.

            403. The Plaintiffs will fairly and adequately protect the interests of the Classes and do

 not have any interests antagonistic to those of other members of the Classes.

            404. Plaintiffs have retained attorneys who are knowledgeable and experienced in

 copyright and class action matters, as well as complex litigation.

            405. There are questions of fact or law common to the Classes, including:

                a. Whether Defendants’ copied works owned by Plaintiffs and the members of the

                    Classes;

                b. Whether Defendants’ copying of Plaintiffs’ and the Classes’ copyrighted works

                    consisted direct, vicarious, or contributory infringement; and

                c. Whether Defendants’ copying of works owned by Plaintiffs and the Classes was

                    willful.

           C.       Rule 23(b)

            406. Defendants have acted on grounds common to Plaintiffs and the Classes by

 treating all Plaintiffs’ and Class Members’ works equally, in all material respects, in their LLM

 “training.”

            407. Common questions of liability for infringement predominate over any

 individualized damages determinations as may be necessary. To decide liability, the Court will

 necessarily apply the same law to the same conduct, which Defendants engaged in

 indiscriminately with respect to all Plaintiffs and all members of the Classes.



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     See http://www.bisg.org/complete-bisac-subject-headings-list (last visited Feb. 2, 2024)


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       408. Further, to the extent Plaintiffs elect to pursue statutory rather than actual

damages before final judgment, the damages inquiry will likewise be common, if not identical,

across Plaintiffs and members of the Classes.

       409. A class action is superior to any individual litigation of Plaintiffs’ and Class

Members’ claims. Class Members have little interest, distinct from Plaintiffs’ and other Class

Members’, in prosecuting individual actions. It would waste judicial resources to decide the

same legal questions repeatedly, thousands of times over, on materially indistinguishable facts.

The Classes presents no special manageability problems.

       410. This action is also appropriate as a class action pursuant to Rule 23(b)(2) of the

Federal Rules of Civil Procedure because Defendants infringing conduct is applicable generally

to Plaintiffs and the proposed Classes and the requested injunctive relief is appropriate

respecting the proposed Classes as a whole.

       D.      Rule 23(c)(4)

       411. In the alternative to certification under Rule 23(b)(3) and 23(b)(2), common

questions predominate within the determination of liability for infringement, therefore the issue

of liability may be separately certified for class treatment even if the entire action is not.

                                         CLAIMS FOR RELIEF

                   COUNT I: COPYRIGHT INFRINGEMENT (17 U.S.C. § 501)

                                 Against OpenAI and Microsoft

       412. Plaintiffs incorporate by reference the allegations in Paragraphs 1 to 411 as

though fully set forth herein.

       413. Plaintiffs and members of the Classes own the registered copyrights in the works

that Defendants reproduced and appropriated to train their artificial intelligence models.




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       414. Plaintiffs and members of the Classes therefore hold the exclusive rights,

including the rights of reproduction and distribution, to those works under 17 U.S.C. § 106.

       415. Defendants infringed on the exclusive rights, under 17 U.S.C. § 106, of Plaintiffs

and members of the proposed Class by, among other things, reproducing the works owed by

Plaintiffs and the proposed Class in datasets used to train their artificial intelligence models.

       416. On information and belief, Defendants’ infringing conduct alleged herein was and

continues to be willful. Defendants infringed on the exclusive rights of Plaintiffs and members

of the proposed Class knowing that they were profiting from mass copyright infringement.

       417. Plaintiffs and members of the proposed Class are entitled to statutory damages,

actual damages, disgorgement, and other remedies available under the Copyright Act.

       418. Plaintiffs and members of the proposed Class have been and continue to be

irreparably injured due to Defendants’ conduct, for which there is no adequate remedy at law.

Defendants will continue to infringe on the exclusive right of Plaintiffs and the proposed class

unless their infringing activity is enjoined by this Court. Plaintiffs are therefore entitled to

permanent injunctive relief barring Defendants’ ongoing infringement.

                COUNT II: VICARIOUS COPYRIGHT INFRINGEMENT

                          Against OpenAI Inc. and OpenAI GP LLC

       419. Plaintiffs incorporate and reallege paragraphs 1 through 418 above.

       420. Defendants OpenAI Inc. and OpenAI GP LLC had the right and ability to control

the direct infringement alleged in Count I because Defendant OpenAI Inc. fully controls

Defendant OpenAI GP LLC, and Defendant OpenAI GP LLC fully controls Defendant OpenAI

OpCo LLC, according to the corporate structure outlined above.




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         421. Defendants OpenAI Inc. and OpenAI GP LLC have a direct financial interest in

the direct infringement alleged in Count I because they benefit from the profits and investments

generated by Defendant OpenAI OpCo LLC’s infringing activities.

         422. Defendants OpenAI Inc. and OpenAI GP LLC are vicariously liable for the direct

infringement alleged in Count I.

                     COUNT III: CONTRIBUTORY INFRINGEMENT

Against Microsoft, OpenAI, Inc., OpenAI GP LLC, OpenAI Global LLC, OpenAI LLC,
 OAI Corporation LLC, OpenAI Holdings LLC, OpenAI Startup Fund I LP, OpenAI
        Startup Fund GP I LLC, and OpenAI Startup Fund Management LLC

         423. Plaintiffs incorporate by reference and realleges the allegations in Paragraphs 1 to

422 as though fully set forth herein.

         424. Microsoft materially contributed and facilitated OpenAI’s direct infringement

alleged in Count I by providing billions of dollars in investments and designing, creating, and

maintaining the bespoke supercomputing system that OpenAI used to maintain and copy the

copyrighted works owned by Plaintiffs and the proposed Classes. This assistance was necessary

for OpenAI to perpetrate the largescale copyright infringement alleged herein.

         425. Microsoft knew, or had reason to know, of the direct infringement alleged in

Count I because OpenAI, upon information and belief, informed Microsoft as part of the due

diligence process that it was copying and scraping copyrighted material in order to train its

generative artificial intelligence models. Furthermore, in the course of designing and maintain

its bespoke supercomputing system, Microsoft became aware of OpenAI’s direct infringement

and directly assisted the copying of copyrighted content owned by Plaintiffs and the proposed

Class.

         426. Microsoft profited from its OpenAI’s direct infringement through its investment

in OpenAI and its monetization of GPT-based products.


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        427. Microsoft is liable for contributing to the direct infringement alleged in Count I.

        428. OpenAI, Inc., OpenAI GP LLC, OpenAI Global LLC, OpenAI LLC, OAI

Corporation LLC, OpenAI Holdings LLC, OpenAI Startup Fund I LP, OpenAI Startup Fund GP

I LLC, and OpenAI Startup Fund Management LLC each directly and indirectly control, direct,

and manage other OpenAI entities, including OpenAI OpCo LLC, that are and were responsible

for the direct infringement alleged in Count I. These OpenAI entities, through their direction

and control of other OpenAI entities, were aware of the direct infringement perpetrated by a

variety of OpenAI entities, as alleged in Count I. These OpenAI entities profited from the

infringement perpetrated by OpenAI as a whole through their ownership of other OpenAI

entities.

        429. OpenAI, Inc., OpenAI GP LLC, OpenAI Global LLC, OpenAI LLC, OAI

Corporation LLC, and OpenAI Holdings LLC, OpenAI Startup Fund I LP, OpenAI Startup

Fund GP I LLC, and OpenAI Startup Fund Management LLC, are each liable for contributing to

the direct infringement alleged in Count I.

                                    PRAYER FOR RELIEF

        430. Plaintiffs, on behalf of themselves and all others similarly situated, pray for the

following relief:

            a. Certification of this action as a class action under Federal Rule of Civil Procedure

               23;

            b. Designation of Plaintiffs as class representatives;

            c. Designation of Plaintiffs’ counsel as class counsel;

            d. An injunction prohibiting Defendants from infringing on Plaintiffs’ and class

               members’ copyrights, including without limitation enjoining Defendants from




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                using Plaintiffs’ and class members’ copyrighted works in “training” Defendants’

                large language models without express authorization;

            e. An award of actual damages to Plaintiffs and class members;

            f. An award of Defendants’ additional profits attributable to infringement to

                Plaintiffs and class members;

            g. An award of statutory damages up to $150,000 per infringed work to Plaintiffs

                and members of the Classes, in the alternative to actual damages and profits, at

                Plaintiffs’ election before final judgment;

         431. Reasonable attorneys’ fees and costs, as allowed by law;

         432. Pre-judgment and post-judgment interest, as allowed by law; and

         433. Such further relief as the Court may deem just and proper.

                                        DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs hereby demand a

jury trial for all claims so triable.

Dated: February 5, 2024

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                                CERTIFICATE OF SERVICE

       I hereby certify this 5th day of February 2024, I caused a true and correct copy of the

foregoing to be electronically filed with the Clerk of the court using the CM/ECF system which

will send notification to the attorneys of record and is available for viewing and downloading.


                                                  /s/ Rohit D. Nath
                                                 (Signature)




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